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  18 Attorneys for Defendant Elon Musk
  19                              UNITED STATES DISTRICT COURT
  20
                                 CENTRAL DISTRICT OF CALIFORNIA
  21
       VERNON UNSWORTH,                               Case No. 2:18-cv-08048
  22
                                    Plaintiff,        Judge: Hon. Stephen V. Wilson
  23
              vs.                                     JOINT AMENDED
  24
                                                      TRIAL EXHIBIT LIST
  25 ELON MUSK,
                                                      Pretrial Conference: Dec. 2, 2019
  26                                Defendant.        Trial Date:          Dec. 3, 2019
  27
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                                         AMENDED JOINT EXHIBIT LIST
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   1        Pursuant to Federal Rule of Civil Procedure 26(a)(3) and Local Rule 16-6,
   2 Plaintiff Vernon Unsworth and Defendant Elon Musk, hereby jointly submit the
   3 Amended Trial Exhibit List, attached as Exhibit A, removing certain exhibits and
   4 altering Dr. Jansen’s documents based upon the Court’s rulings, and adding certain
   5 publicly available documents.
   6        The parties reserve the right to use at trial: (a) exhibits to be used solely for
   7 impeachment pursuant to F.R. Civ. P. 26(a)(3)(A)(iii) and Local Rule 16-2.3; (b)
   8 exhibits obtained through trial subpoenas or otherwise produced after the date of this
   9 filing; and (c) documents the need for which could not reasonably have been
  10 anticipated in advance of trial.
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                                     AMENDED JOINT EXHIBIT LIST
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   1   Dated: December 2, 2019             L. LIN WOOD, P.C.
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   2
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   9                                       By: /s/L. Lin Wood
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  15                                       Jeanine M. Zalduendo
  16
                                           By: /s/Alex Spiro_______________________
  17                                       Alex Spiro
  18                                       Attorneys for Defendant Elon Musk

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                                 AMENDED JOINT EXHIBIT LIST
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   1                                        EXHIBIT A
   2
       Exhibit             Description                          Objections       Date         Date
   3   No.                                                                     Identified   Admitted
       1         Complaint for Defamation              P:
   4   (D)                                                      Relevance
   5                                                            FRE 403
       2         Plaintiff Vernon Unsworth’s
   6   (D)       Responses and Objections to Elon
                 Musk’s First Set of
   7             Interrogatories
   8   3         Plaintiff Vernon Unsworth's
       (D)       Verification of Responses; Elon
   9             Musk's First Set of Interrogatories
       4         Photographs of Unsworth             D:
  10   (P*)                                                     Relevance
       (D)                                                       (non-rescue
  11
                                                                 pictures)
  12   5         Extraction diagram by Vernon          P:
       (D)       Unsworth                                       Relevance
  13                                                            Misleading
       6         Article: An Inside Story of the       P:
  14
       (D)       Tham Luang Cave Rescue with                    Hearsay
  15             Vernon Unsworth                                Relevance
       7         BCCT Multi-Chambers Chiang            P:
  16   (D)       Mai Business Networking - Q&A                  Hearsay
                 session from British diving expert             Relevance
  17             Vernon Unsworth
  18   8         Email from Vernon Unsworth to
       (D)       Adam Fellows re Description
  19   10        Photograph of Unsworth
  20   (P*)
       (D)
  21   11        Tweet from Elon Musk
       (D)
  22   12        Tweet from Elon Musk
       (D)
  23   13        Vernon Unsworth CNN Interview
  24   (P*)      (Video)
       (D)
  25   14        Vernon Unsworth CNN Interview
       (P*)      (Video)
  26   (D)
  27   15        Email from Vernon Unsworth to
       (D)       Mark Stephens
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                                       AMENDED JOINT EXHIBIT LIST
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   1   Exhibit             Description                          Objections      Date         Date
       No.                                                                    Identified   Admitted
   2   16        Tweet from Elon Musk
   3   (D)
       17        Report: Situational Analysis of       P:
   4   (D)       the Commercial Sexual                          Hearsay
                 Exploitation of Children,                      Relevance
   5             Thailand                                       Prejudice
   6                                                            Misleading
       18        Tweet from Elon Musk
   7   (D)
       19        Tweet from Elon Musk
   8   (P*)
   9   (D)
       20        Tweet from Elon Musk
  10   (D)
       21        L. Wood letter to E. Musk
  11   (P*)
       (D)
  12   22        Tweet from Elon Musk
  13   (P*)
       (D)
  14   23        BuzzFeed News Article “In A
       (D)       New Email Elon Musk Accused
  15             A Caver Of Being A ‘Child
                 Rapist’ And Said He ‘Hopes’
  16
                 There’s A Lawsuit”
  17   24        Vernon Unsworth Time Interview
       (D)       (Video)
  18   25        Article: British cave diver           P:
       (D)       considering legal action over Elon             Hearsay
  19             Musk's 'pedo’ attack                           Relevance
  20                                                            Prejudice
       26        Vernon Unsworth Interview
  21   (D)       (Video)
       27        Article: British caver says he        P:
  22   (D)       approached by U.S., British                    Hearsay
  23             lawyers over Musk's comments
       28        Article: Hero British diver           P:
  24   (D)       Vernon Unsworth responds as                    Foundation
                 Elon Musk revives 'paedo' claim                Hearsay
  25   29        Vernon Unsworth BBC Interview         P:
  26   (D)       (Video)                                        Relevance
       30        News18 Article “British Diver         P:
  27   (P*)      Who Sued Elon Musk Over ‘Pedo                  Hearsay
       (D)       Guy’ Insult Makes it to UK
  28             Honours List”
                                                      -4-
                                       AMENDED JOINT EXHIBIT LIST
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   1   Exhibit             Description                          Objections        Date         Date
       No.                                                                      Identified   Admitted
   2   31        BuzzFeed News Article “The            D:
   3   (P*)      Cave Rescuer Elon Musk Called                  Hearsay
       (D)       A ‘Pedo’ Has Lawyered Up And
   4             Is Preparing A Libel Claim”
       33        Facebook page in Thai with            P:
   5   (D)       English translation                            Authenticity
   6                                                            Foundation
                                                                Hearsay
   7                                                            Relevance
                                                                Prejudice
   8                                                            Misleading
   9   34        Article: The Inside Story “Getting    D:
       (P*)      the Boys Out” Tham Luang Cave                  Hearsay
  10             Rescue                                         Foundation
       35        Email Teller and Musk re:             D:
  11   (P*)      Apology                                        Foundation
  12                                                            Hearsay
                                                                Relevance
  13                                                            FRE 403
       36        Email Birchall and Howard re:         P:
  14   (P*)      NDA                                            Hearsay
  15   (D)
       37        LLW Letter to Musk
  16   (P*)
       (D)
  17   38        Musk Tweets (version containing
       (P)       all three successive tweets)
  18
       (D)
  19   39        Musk Tweet beginning “As this
       (P*)      well-written article suggests…”
  20   (D)
       40        Musk Tweet re: “Bet ya a signed
  21   (P*)      dollar it’s true”
  22   (D)
       41        Musk Tweet in response to Drew
  23   (P*)      Olanoff beginning “You don’t
       (D)       think it’s strange…”
  24   42        Email Mac and Musk re: Child
       (P)       Rapist and Child Bride
  25
       (D)
  26   45        Financial Times Article “Elon        D:
       (P*)      Musk’s weakness for self-                      Hearsay
  27             promotion masks his potential”                 Relevance
                                                                FRE 403
  28
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                                       AMENDED JOINT EXHIBIT LIST
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   1   Exhibit             Description                    Objections        Date         Date
       No.                                                                Identified   Admitted
   2   46        Cave Survey
   3   (P*)
       (D)
   4   47        WhatsApp chat printout          P:
       (D)                                                Hearsay
   5   48        Photo of Tube
   6   (P*)
       (D)
   7   49        Email Musk and Branson re:      D:
       (P*)      accusations                              Hearsay
   8                                                      Relevance
       50        Texts Unsworth and Vanessa      D:
   9
       (P*)      Unsworth                                 Hearsay
  10                                                      Foundation
                                                          Relevance
  11                                                      FRE 602
  12                                                      FRE 403
       51        Email from Vernon Unsworth to  P:
  13   (D)       Adam Fellows re Watch "Hero              Relevance
                 “ถาหลวง"thailand” on YouTube
  14   52        Woranan (“Tik”) Ratrawiphakkun D:
  15   (P*)      ID card                                  Foundation
       (D)
  16   53        Facebook page in Thai with      P:
       (D)       English translation                      Authenticity
  17                                                      Foundation
  18                                                      Hearsay
                                                          Relevance
  19                                                      Prejudice
                                                          Misleading
  20   54A       Photo                           P:
  21   (D)                                                Relevance
       54B       Photo                           P:
  22   (D)                                                Relevance
       54C       Photo                           P:
  23   (D)                                                Relevance
  24   54D       Photo                           P:
       (D)                                                Relevance
  25   54E       Photo                           P:
       (D)                                                Relevance
  26   54F       Photo                           P:
  27   (D)                                                Relevance
       54G       Photo                           P:
  28   (D)                                                Relevance
                                                -6-
                                     AMENDED JOINT EXHIBIT LIST
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   1   Exhibit             Description                         Objections        Date         Date
       No.                                                                     Identified   Admitted
   2   54H       Photo                                P:
   3   (D)                                                     Relevance
       54I       Photo                                P:
   4   (D)                                                     Relevance
       54J       Photo                                P:
   5   (D)                                                     Relevance
   6   55        Document in Thai                     P:
       (D)                                                     Authenticity
   7                                                           Hearsay
                                                               Relevance
   8
                                                               Prejudice
   9                                                           Misleading
       56        Messaging Heltsley and Harris re:    P:
  10   (P*)      Rescue                                        Hearsay
       (D)
  11   57        Tube Specifications                  P:
  12   (P*)                                                    Hearsay
       (D)
  13   58        WhatsApp Chat                        P:
       (P*)                                                    Hearsay
  14   (D)
       59        WhatsApp Chat                        P:
  15
       (P*)                                                    Hearsay
  16   (D)
       60        Email Musk and Bowman re:            P:
  17             Rescue                                        Hearsay
       (D)
  18   61        Email Mac, Musk, Teller,          P:
  19   (P*)      Birchall re: BuzzFeed Request for             Hearsay
       (D)       Comment                           D:
  20                                                           FRE 403
                                                               FRE 602
  21                                                           Foundation
  22   62        Email Howard, Musk, Ortiz,        P:
       (P*)      Teller re: Investigation                      Hearsay
  23   (D)

  24   63        BuzzFeed News Article “Elon         D:
       (P*)      Musk Has Always Been At War                   Hearsay
  25             With The Media”                               Relevance
                                                               FRE 403
  26
  27   64        Email Howard and Birchall re:        P:
       (P*)      Investigation                                 Hearsay
  28   (D)

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                                       AMENDED JOINT EXHIBIT LIST
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   1   Exhibit             Description                      Objections     Date         Date
       No.                                                               Identified   Admitted
   2   65        Email Howard and Birchall re:     P:
   3   (P*)      Investigation                              Hearsay
       (D)
   4   66        Email Howard and Birchall re:     P:
       (P*)      Investigation                              Hearsay
   5   (D)                                         D:
   6                                                        FRE 403
                                                            Relevance
   7                                                        FRE 404
       67        Texts Howard and Birchall re:     P:
   8   (P*)      Investigation                              Hearsay
       (D)                                                  Relevance
   9
                                                            FRE 403
  10   68        Email Howard and Birchall re:     P:
       (P*)      Investigation                              Hearsay
  11   (D)
  12   69        Tweets by Ryan Mac                D:
       (P*)                                                 Hearsay
  13   (D)                                                  Relevance
                                                            FRE 403
  14
  15   70        Email Mac, Musk, Birchall re:     P:
       (D)       Request for Comment                        Hearsay
  16   71        Email Birchall and Howard re:     P:
       (P*)      Investigation                              Hearsay
  17   (D)
  18   72        Email Howard and Birchall re:     P:
       (P*)      Investigation                              Hearsay
  19   (D)
       73        Email Howard and Birchall re:     P:
  20   (P*)      Investigation                              Hearsay
       (D)                                                  Relevance
  21
                                                            FRE 403
  22   74        Email Howard and Birchall re:     P:
       (P*)      Investigation                              Hearsay
  23   (D)
  24   75        Email Howard and Birchall re:     P:
       (P*)      Investigation                              Hearsay
  25   (D)
       77        Email Teller, Zaveri, Gleeson,    P:
  26   (P*)      O’Brien, Behrend re: Press                 Hearsay
       (D)       Inquiry
  27
  28
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                                       AMENDED JOINT EXHIBIT LIST
Case 2:18-cv-08048-SVW-JC Document 145 Filed 12/03/19 Page 10 of 68 Page ID #:5657



    1   Exhibit             Description                         Objections      Date         Date
        No.                                                                   Identified   Admitted
    2   78        Email Teller, Davis, Juncosa re:    D:
    3   (P*)      Cave Rescue                                   Foundation
                                                                Hearsay
    4                                                           Relevance
                                                                FRE 403
    5
                                                                FRE 602
    6   79        Email Martin, Hardy, Teller,         P:
        (P)       O’Brien, Arnold re: Press Inquiry             Hearsay
    7   (D)
        80        Email Otto and Tesla Comms.          P:
    8   (P)       Re: Press Coverage                            Hearsay
    9   (D)                                           D:
                                                                Foundation
   10                                                           Hearsay
                                                                Relevance
   11                                                           FRE 403
   12   81        Email Arnold and Higgins re:        D:
        (P)       Press Inquiry                                 Foundation
   13                                                           Hearsay
                                                                Relevance
   14
                                                                FRE 403
   15   82        Email Riley and Arnold re: Press    D:
        (P)       Inquiry                                       Foundation
   16                                                           Hearsay
                                                                Relevance
   17
                                                                FRE 403
   18   83        Email Selk, SpaceX media, Tesla     D:
        (P)       media, Arnold etc. re: Press                  Foundation
   19             Inquiry                                       Hearsay
   20                                                           Relevance
                                                                FRE 403
   21   84        Email Teller, Arnold, Hardy,        D:
        (P)       O’Brien, Martin re: Press Inquiry             Foundation
   22                                                           Hearsay
   23                                                           Relevance
                                                                FRE 403
   24   85        Musk Tweet re: Media                D:
        (P*)                                                    Relevance
   25                                                           FRE 403
   26   86        Email Musk and Branson re:          D:
        (P*)      Accusations                                   Foundation
   27                                                           Hearsay
                                                                FRE 403
   28                                                           Relevance
                                                      -9-
                                        AMENDED JOINT EXHIBIT LIST
Case 2:18-cv-08048-SVW-JC Document 145 Filed 12/03/19 Page 11 of 68 Page ID #:5658



    1   Exhibit             Description                            Objections          Date         Date
        No.                                                                          Identified   Admitted
    2   88        Email Davis, Musk, Teller re:        D:
    3   (P*)      Cave Rescue                                      Foundation
                                                                   Hearsay
    4                                                               (Osotthanakorn
                                                                    statement)
    5   89        Email Teller, Balajadia, Members
    6   (P*)      of Press re: Cave Rescue
        90        Email Teller and Musk re:            D:
    7   (P*)      Investor Response                                Foundation
                                                                   Hearsay
    8                                                              Relevance
    9                                                              FRE 403
        91        Email Musk and Teller re:            D:
   10   (P)       Apology                                          Foundation
                                                                   Hearsay
   11                                                              Relevance
   12                                                              FRE 403
        92        Email O’Brien, Teller, Maron,        D:
   13   (P)       Arnold, Gleeson, Chen re: Press                  Foundation
                  Coverage                                         Hearsay
   14                                                              Relevance
   15                                                              FRE 403
        93        Email Teller, Glover, O’Brien re:    D:
   16   (P*)      Press Coverage                                   Foundation
                                                                   Hearsay
   17
                                                                   Relevance
   18                                                              FRE 403
        94        Email Arnold, Norman, Musk,          D:
   19   (P*)      Teller re: Press Coverage/Inquiry                Hearsay
   20                                                              Foundation
                                                                   FRE 403
   21   95        Email Schmidbaur, Teller, Tesla      D:
        (P*)      Press, Zillis, O’Brien, SpaceX                   Foundation
   22             Media, Arnold et. al re: Press                   Hearsay
                  Coverage                                         Relevance
   23
                                                                   FRE 403
   24   96        Email Nesbitt, Glover, Musk,         D:
        (P*)      Arnold, Teller re: Accusations                   Foundation
   25                                                              Hearsay
   26                                                              Relevance
                                                                   FRE 403
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                                        AMENDED JOINT EXHIBIT LIST
Case 2:18-cv-08048-SVW-JC Document 145 Filed 12/03/19 Page 12 of 68 Page ID #:5659



    1   Exhibit             Description                          Objections      Date         Date
        No.                                                                    Identified   Admitted
    2   97        Email Caplan and Davis re: Cave     P:
    3   (P*)      Rescue                                         Hearsay
        (D)                                          D:
    4                                                            Foundation
                                                                 Hearsay
    5                                                            Relevance
    6                                                            FRE 403
        98        Texts Davis and Musk re: Cave
    7   (P*)      Rescue
        99        Texts Davis and Teller re: Cave    D:
    8   (P*)      Rescue                                         Foundation
    9                                                            Hearsay
                                                                 Relevance
   10                                                            FRE 403
        100       Texts Davis and Teller re: Cave    D:
   11   (P*)      Rescue                                         Foundation
   12                                                            Hearsay
                                                                 Relevance
   13                                                            FRE 403
        101       Tweets @elonmusk &
   14   (P)       @GossiTheDog
   15   102       Email Musk and Davis re: Cave
        (P*)      Rescue
   16   103       Email Musk, Davis, Teller re:      D:
        (P*)      Cave Rescue                                    Foundation
   17                                                            Hearsay
   18                                                            Relevance
                                                                 FRE 403
   19   104       Texts Arnold and O’Brien re:       D:
        (P*)      Accusations                                    Foundation
   20
                                                                 Hearsay
   21                                                            Relevance
                                                                 FRE 403
   22   106       Email Chen and Tesla Comm. Re: D:
        (P)       Press Coverage                                 Foundation
   23
                                                                 Hearsay
   24                                                            Relevance
                                                                 FRE 403
   25   123       Article: Elon Musk to go to trial P:
   26   (D)       over 'pedo' tweet about British                Hearsay
                  diver Vernon Unsworth
   27   124       Article: A British Cave Rescuer   P:
        (D)       Is Officially Suing Elon Musk                  Hearsay
   28             For Calling Him A Pedophile
                                                    - 11 -
                                       AMENDED JOINT EXHIBIT LIST
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    1   Exhibit               Description                           Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   125       Article: Elon Musk hits back           P:
    3   (D)       against lawsuit by caver he called                Hearsay
                  a 'pedo guy'
    4   126       The Society of Professional            P:
        (D)       Journalists' Code of Ethics                       Hearsay
    5
        127       Vernon Unsworth Google search          P:
    6   (D)       results                                           Hearsay
        128       Lin Wood Tweet                         P:
    7   (D)                                                         Relevance
                                                                    Hearsay
    8
        129       Lin Wood Tweet                         P:
    9   (D)                                                         Relevance
                                                                    Hearsay
   10   130       Lin Wood Tweet                         P:
   11   (D)                                                         Relevance
                                                                    Hearsay
   12   133       Jansen CV                             D:
        (P*)                                                        Hearsay
   13   134       Jansen List of Testimony              D:
   14   (P*)                                                        Hearsay
        136       Jansen List of Articles Containing            
   15   (D)       Defaming Statements

   16
        139       Jansen Retainer Agreement
   17   (P*)
        (D)
   18   140       Jansen Invoice
        (P*)
   19   (D)
   20   141       Jansen Invoice
        (P*)
   21   (D)
        142       Jansen Time and Expense Sheet
   22   (P*)
        (D)
   23
        143       Letter agreement between               P:
   24   (D)       Bernard (Jim) Jansen and Quinn                    Relevance
                  Emanuel
   25   144       Letter agreement between               P:
        (D)       Bernard (Jim) Jansen and Quinn                    Relevance
   26             Emanuel
   27   145       printout re foxnews.com website
        (D)       performance
   28
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    1   Exhibit              Description                          Objections        Date         Date
        No.                                                                       Identified   Admitted
    2   146       Jansen Spreadsheet                   P:
    3    (D)                                                      Completeness
                                                              
    4   147       Article: The Internet is Mostly      P:
        (D)       Bots                                            Hearsay
    5                                                             Foundation
    6                                                             Relevance
                                                                  Prejudice
    7                                                             Misleading
        148       printout from cars.com               P:
    8   (D)                                                       Relevance
    9   149       Article: The Week in Tesla News:
        (D)       Snoozing on Autopilot, Musk
   10             'Deletes' Twitter and the EV
                  Evolution
   11   150       Article: How Accurate Are
   12   (D)       Website Traffic Estimators?
        151       Article: Find Out How Much           P:
   13   (D)       Traffic a Website Gets: 3                       Hearsay
                  Ways Compared                                   Foundation
   14
                                                                  Relevance
   15                                                             Prejudice
                                                                  Misleading
   16   152       Article: Elon Musk Calls Thai
   17   (D)       Cave Diver Hero A 'Child Rapist'
                  As He Escalates Baseless Feud
   18   153       Article: If You're Calling
        (D)       Someone a 'Pedo' on Twitter,
   19             Elon Musk, It's Time to Take a
                  Long, Hard Look at Your Life
   20   200       Musk Tweet re “signed dollar”
   21   (P)       responding to @GossiTheDog
                  stating “pedo”
   22   201       Musk Tweet re: purported            D:
        (P)       apology beginning with “As this                 Foundation
   23             well-written article suggests”                  Hearsay
                  replying to @adamchavez                         Relevance
   24
                                                                  FRE 403
   25   202       Musk Tweet re: “strange he
        (P)       hasn’t sued me” with comments
   26   203       Email Howard and Birchall re:
   27   (P*)      Investigation

   28
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    1   Exhibit             Description                          Objections        Date         Date
        No.                                                                      Identified   Admitted
    2   204       Google Results for “James          D:
    3   (P*)      Howard Jupiter” “Before Aug 15,                Not provided
                  2018”                                          Authenticity
    4                                                            Foundation
                                                                 FRE 602
    5   205       Daily Echo Article “Businessman    D:
    6   (P*)      stole £426,000 from company’s                  Foundation
                  accounts despite being given                   Hearsay
    7             ‘numerous second changes’”                     Relevance
                                                                 FRE 403
    8
        206       Email Musk and Glover re:          D:
    9   (P*)      Accusations                                    Foundation
                                                                 Hearsay
   10                                                            Relevance
   11                                                            FRE 403
        208       BuzzFeed News Article “People      D:
   12   (P*)      Really Aren’t Here for Elon                    Foundation
                  Musk’s Rescue Submarine”                       Hearsay
   13                                                            Relevance
   14                                                            FRE 403
        209       BuzzFeed News Article “Elon        D:
   15   (P*)      Musk Didn’t Help Save The Thai                 Foundation
                  Boys. Now He’s Attacking                       Hearsay
   16             Someone Who Did”                               Relevance
   17                                                            FRE 403
        210       BuzzFeed News Article “Elon        D:
   18   (P*)      Musk Has Revisited His Baseless                Hearsay
                  Pedophile Claims”                              FRE 403 (re
   19                                                             SEC)
   20   211       BuzzFeed News article “The         D:
        (P*)      Cave Rescuer Elon Musk Called                  Hearsay
   21             A ‘Pedo’ Has Lawyered Up And
                  Is Preparing A Libel Claim”
   22   212       Musk Google Alerts                 D:
   23   (P)                                                      Hearsay
                                                                 Relevance
   24                                                            FRE 403
                                                                 FRE 602
   25   213       Musk Google Alerts                 D:
   26   (P)                                                      Hearsay
                                                                 Relevance
   27                                                            FRE 403
                                                                 FRE 602
   28
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    1   Exhibit            Description                        Objections     Date         Date
        No.                                                                Identified   Admitted
    2   214       Musk Google Alerts               D:
    3   (P)                                                   Hearsay
                                                              Relevance
    4                                                         FRE 403
                                                              FRE 602
    5   215       Musk Google Alerts               D:
    6   (P)                                                   Hearsay
                                                              Relevance
    7                                                         FRE 403
                                                              FRE 602
    8
        216       Musk Google Alerts               D:
    9   (P)                                                   Hearsay
                                                              Relevance
   10                                                         FRE 403
   11                                                         FRE 602
        217       Musk Google Alerts               D:
   12   (P)                                                   Hearsay
                                                              Relevance
   13                                                         FRE 403
   14                                                         FRE 602
        218       Musk Google Alerts               D:
   15   (P)                                                   Hearsay
                                                              Relevance
   16                                                         FRE 403
   17                                                         FRE 602
        219       Musk Google Alerts               D:
   18   (P)                                                   Hearsay
                                                              Relevance
   19                                                         FRE 403
   20                                                         FRE 602
        220       Musk Google Alerts               D:
   21   (P)                                                   Hearsay
                                                              Relevance
   22
                                                              FRE 403
   23                                                         FRE 602
        221       Musk Google Alerts               D:
   24   (P)                                                   Hearsay
                                                              Relevance
   25
                                                              FRE 403
   26                                                         FRE 602

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    1   Exhibit              Description                           Objections      Date         Date
        No.                                                                      Identified   Admitted
    2   222       Musk Google Alerts                   D:
    3   (P)                                                        Hearsay
                                                                   Relevance
    4                                                              FRE 403
                                                                   FRE 602
    5   223       Quora Article “What’s the full       D:
    6   (P)       story behind Elon Musk’s                         Foundation
                  involvement with the Thai cave                   Hearsay
    7             rescue effort?”                                  Relevance
                                                                   FRE 403
    8
        224       Dkt. 30 – Musk’s Notice of           D:
    9   (P*)      Motion and Motion to Dismiss                     Relevance
                  Plaintiff Vernon Unsworth’s                      FRE 403
   10             Complaint; Memorandum of
                  Points and Authorities
   11   225       Dkt. 45 – Defendant Elon Musk’s      D:
   12   (P*)      Answer to Plaintiff’s Complaint                  Relevance
                                                                   FRE 403
   13   226       Email Gleeson, Teller, Lee re:       D:
        (P*)      Cave Rescue                                      Hearsay
   14                                                              Relevance
   15                                                              FRE 403
        227       Email Teller to various reporters
   16   (P*)      re: Cave Rescue
        228       Email O’Brien, Tesla Comms.,         D:
   17   (P*)      and Liddle re: Press Coverage                    Hearsay
   18                                                              Relevance
                                                                   FRE 403
   19   229       Email LLW PC to Musk
        (P*)
   20   230       Email LLW PC to Musk
   21   (P*)
        231       Email LLW PC to Musk
   22   (P*)
        232       Musk Tweet “This reaction has
   23   (P*)      shaken my opinion of many
                  people….”
   24
        233       Email Birchall and Howard re:
   25   (P*)      Investigation
        234       Email Birchall and Howard re:
   26   (P*)      Investigation
        235       Email Birchall and Howard re:
   27   (P*)      Investigation
   28   236       Email Birchall and Howard re:
        (P*)      Investigation
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    1   Exhibit              Description                             Objections      Date         Date
        No.                                                                        Identified   Admitted
    2   237       Email Birchall and Howard re:
    3   (P*)      Investigation
        238       Email Birchall and Howard re:
    4   (P*)      Investigation
        239       Email Rive and Musk re: Cave
    5   (P*)      Rescue
        241       Email Jeremy Arnold, Teller,           D:
    6
        (P*)      Musk, Davis re: Quora Article                      Hearsay
    7                                                                Relevance
                                                                     FRE 403
    8   242       Email Arnold, Teller, Norman,          D:
    9   (P*)      Birchall re: Quora post                            Hearsay
                                                                     Relevance
   10                                                                FRE 403
        243       Email Teller and Arnold re:            D:
   11   (P*)      Quora post                                         Hearsay
   12                                                                Relevance
                                                                     FRE 403
   13   244       Email Musk and Thailand Team
        (P*)      re: Cave Rescue
   14   245       Email Yu, Musk, Ortiz re: Cave
   15   (P*)      Rescue
        246       Email Harris, Musk, Teller, and
   16   (P*)      Thailand Team re: Cave Rescue
        247       Email Stanton and Musk re: Cave
   17   (P*)      Rescue
        248       Email Stanton and Musk re: Cave
   18   (P*)      Rescue
   19   249       Text Musk re: Cave Rescue
        (P*)
   20   250       Musk Tweet re: Cave Rescue
        (P*)
   21   251       Email Musk and Eby re: Cave
   22   (P*)      Rescue
        252       Musk Tweets re: Cave Rescue
   23   (P*)
        253       Email Musk, Teller, Birchall,          D:
   24   (P*)      Arnold re: Press Inquiry                           Hearsay
   25                                                                Foundation
                                                                     Relevance
   26                                                                FRE 403
        254       Email Musk and Schwartz re:
   27   (P*)      Accusations
   28   256       Email Davis, Teller et al. re: Cave
        (P*)      Rescue
                                                        - 17 -
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    1   Exhibit             Description                           Objections       Date         Date
        No.                                                                      Identified   Admitted
    2   257       Email Davis to Thailand Team re:
    3   (P*)      Cave Rescue
        258       AIG Policy (subject to meet and     D:
    4   (P*)      confer)                                         FRE 403
                                                                  Stipulation
    5                                                             FRE 411
    6   259       AIG Declarations Page (subject to D:
        (P*)      meet and confer)                                FRE 403
    7                                                             Stipulation
                                                                  FRE 411
    8   260       Musk Tweet re: Cave Rescue
    9   (P*)
        261       Musk Tweet re: Cave Rescue
   10   (P*)
        262       Musk Tweets re: Cave Rescue
   11   (P*)
   12   263       Musk Tweet re: Cave Rescue
        (P*)
   13   264       Musk Tweets re: Cave Rescue
        (P*)
   14   265       Musk Tweets re: Cave Rescue
        (P*)
   15   266       Musk Tweet re: Cave Rescue
   16   (P*)
        267       Musk Tweet re: Cave Rescue
   17   (P*)
        268       Musk Tweet re: Cave Rescue
   18   (P*)
   19   269       Musk Tweet re: Cave Rescue
        (P*)
   20   270       Musk Tweet re: Cave Rescue
        (P*)
   21   271       Musk Tweet re: Cave Rescue
        (P*)
   22
        272       Musk Tweets re: Cave Rescue
   23   (P*)
        273       Musk Tweets re: Cave Rescue
   24   (P*)
        274       Loup Ventures “An Open Letter       D:
   25   (P*)      to Elon Musk”                                   Hearsay
   26                                                             Foundation
                                                                  Relevance
   27                                                             FRE 403
   28
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    1   Exhibit             Description                           Objections      Date         Date
        No.                                                                     Identified   Admitted
    2   275       Fortune Article “After Elon         D:
    3   (P*)      Musk’s ‘Pedo’; Tweet, Tesla                     Hearsay
                  Shares Fall 4% as Some Investors                Foundation
    4             Worry About His Erratic                         Relevance
                  Behavior”                                       FRE 403
    5   276       Business Insider Article “One of    D:
    6   (P*)      Tesla’s largest shareholders is                 Hearsay
                  urging Elon Musk to simmer                      Foundation
    7             down and focus after a                          Relevance
                  tumultuous few weeks”                           FRE 403
    8
        277       Bloomberg Article “‘The Last        D:
    9   (P*)      Bet-the-Company Situation’:                     Relevance
                  Q&A With Elon Musk”                             FRE 403
   10   278       Musk Tweet re “taking Tesla         D:
        (P*)      private …”                                      Relevance
   11
                                                                  FRE 403
   12                                                             Motion In
                                                                   Limine
   13                                                             FRE 404
        279       Email Mac and Musk re:
   14
        (P*)      Accusations/Cave Rescue
   15   280       Email Birchall and Howard re:
        (P*)      Investigation
   16   281       Email Davis, Musk, Thailand
        (P*)      Team re: Cave Rescue
   17   282       Email Davis, Dunn, Musk re:
   18   (P*)      Cave Rescue
        283       Email Davis, Bowman et al. re:
   19   (P*)      Cave Rescue
        284       Cave Survey from The Guardian
   20   (P*)
   21   285       Email Mitchell and Arnold re:       D:
        (P)       Press Inquiry                                   Hearsay
   22                                                             Relevance
                                                                  FRE 403
   23   286       Email Higgins and Arnold re:        D:
   24   (P)       Press Inquiry                                   Hearsay
                                                                  Foundation
   25                                                             Relevance
                                                                  FRE 403
   26   287       Email re: Press Inquiry             D:
   27   (P)                                                       Hearsay
                                                                  Relevance
   28                                                             FRE 403
                                                     - 19 -
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    1   Exhibit             Description                          Objections          Date         Date
        No.                                                                        Identified   Admitted
    2   288       Arnold and Mumtaz re: Press        D:
    3   (P)       Inquiries                                      Hearsay
                                                                 Relevance
    4                                                            FRE 403
        289       Email Levin, Arnold, O’Brien et    D:
    5   (P)       al. re: Press Inquiry                          Hearsay
    6                                                            Relevance
                                                                 FRE 403
    7   290       Email Arnold and O’Brien re:       D:
        (P*)      Press Coverage                                 Hearsay
    8
                                                                 Foundation
    9                                                            Relevance
                                                                 FRE 403
   10   291       Email O’Brien and Tesla Comms. D:
        (P*)      re: complaints                                 Hearsay
   11
                                                                 Foundation
   12                                                            Relevance
                                                                 FRE 403
   13   292       Email O’Brien, Chen, Arnold re: D:
   14   (P*)      Press Coverage                                 Hearsay
                                                                 Foundation
   15                                                            Relevance
                                                                 FRE 403
   16   293       Email O’Brien and Arnold re:     D:
   17   (P*)      Press Inquiry                                  Hearsay
                                                                 Foundation
   18                                                            Relevance
                                                                 FRE 403
   19   294       Email Arnold, Delaville, O’Brien D:
   20   (P*)      et al. re: Press Coverage                      Hearsay
                                                                 Foundation
   21                                                            Relevance
                                                                 FRE 403
   22   296       Email Glover, Arnold, Musk,      D:
   23   (P*)      Teller, O’Brien, Antonini re:                  Hearsay
                  BuzzFeed Accusations                           Foundation
   24                                                            Relevance
                                                                 FRE 403
   25
                                                                  (statements by
   26                                                             others)

   27
   28
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    1   Exhibit             Description                            Objections      Date         Date
        No.                                                                      Identified   Admitted
    2   297       Email Arnold, Tay, Antonini re:      D:
    3   (P*)      Press Coverage                                   Hearsay
                                                                   Foundation
    4                                                              Relevance
                                                                   FRE 403
    5   298       Email Arnold and Tesla Comms.        D:
    6   (P*)      re: Press Inquiries                              Relevance
                                                                   FRE 403
    7   299       Email Arnold and Teller re: Press    D:
        (P*)      Inqiury                                          Hearsay
    8
                                                                   Foundation
    9                                                              Relevance
                                                                   FRE 403
   10   300       Email with Photo of Unsworth
        (P*)
   11
        301       Photo of Unsworth
   12   (P*)
        302       Photo of Unsworth
   13   (P*)
        303       Photo of Unsworth
   14   (P*)
   15   304       Photo of Unsworth
        (P*)
   16   305       Email Ellis and Unsworth re:
        (P*)      Cave Rescue
   17   306       Email Unsworth re: Cave Survey
        (P*)
   18
        307       Cave Survey with handwritten
   19   (P*)      notes
        308       Emails Stanton and Musk re:
   20   (P*)      Cave Rescue
        309       Emails Stanton and Musk re:
   21   (P*)      Cave Rescue
   22   310       Emails Stanton and Musk re:
        (P*)      Cave Rescue
   23   311       Emails Stanton and Musk re:
        (P*)      Cave Rescue
   24   312       Emails Stanton and Musk re:
   25   (P*)      Cave Rescue
        313       Emails Stanton and Musk re:
   26   (P*)      Cave Rescue
        314       Emails Stanton and Musk re:
   27   (P*)      Cave Rescue
        315       Emails Stanton and Musk re:
   28   (P*)      Cave Rescue
                                                      - 21 -
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    1   Exhibit              Description                         Objections      Date         Date
        No.                                                                    Identified   Admitted
    2   316       Emails Stanton and Musk re:
    3   (P*)      Cave Rescue
        317       Email Lever and Unsworth re:
    4   (P*)      MBE
        318       Email Unsworth and Blanch re:
    5   (P*)      Investiture
        319       Email re: Commendation
    6
        (P*)
    7   320       Email Unsworth and Thai         D:
        (P*)      Embassy re: Immigration Records                Foundation
    8                                                            Hearsay
        321       Email Unsworth and Harris re:
    9
        (P*)      Documentary
   10   322       Cave Surveys and Notes
        (P*)
   11   323       Cave Photograph
        (P*)
   12   324       Photograph of Unsworth
   13   (P*)
        325       Unsworth Passport (reserving
   14   (P*)      right to enter actual passport)
        326       Photograph of Unsworth
   15   (P*)
   16   327       Photograph of Unsworth
        (P*)
   17   328       Video of Cave Rescue/Unsworth      D:
        (P*)                                                     Relevance
   18                                                            FRE 403
        329       Tik ID                             D:
   19
        (P*)                                                     Foundation
   20   330       Unsworth Passport
        (P*)
   21   331       Photos of tube
        (P*)
   22
        332       Cave Survey
   23   (P*)
        333       Text Unsworth and Vanessa          D:
   24   (P*)      Unsworth                                       Hearsay
                                                                 Foundation
   25
                                                                 Relevance
   26                                                            FRE 403
        334       Email Teller, Musk, Davis re:
   27   (P*)      Cave Rescue
        335       Email Musk and Shotwell re:
   28   (P*)      Cave Rescue
                                                    - 22 -
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    1   Exhibit             Description                           Objections        Date         Date
        No.                                                                       Identified   Admitted
    2   336       Email Musk and Shotwell re:
    3   (P*)      Cave Rescue
        337       Email Musk re: Cave Rescue
    4   (P*)
        338       Email Stubbings and Musk re:        D:
    5   (P*)      Cave Rescue                                     Hearsay
    6                                                             Foundation
                                                                  Relevance
    7                                                             FRE 403
        339       Email Glover and Hilton file        D:
    8   (P*)      titled “Email_Glover_Hilton re                  Hearsay
    9             Elon’s pedo comment” (produced                  Foundation
                  by Ridgley Walsh)                               Relevance
   10                                                             FRE 403
        340       Email Glover, Arnold, Teller,       D:
   11   (P*)      Musk file titled                                Hearsay
   12             “Email_Glover_Teller re 60                      Relevance
                  Mins” (produced by Ridgley                      FRE 403
   13             Walsh)
        362       Tesla Form 8-K dated November       D:
   14   (P*)      5, 2013                                         Relevance
   15                                                             FRE 403
                                                                  Hearsay
   16   364       Tesla Records Custodian
        (P*)      Declaration
   17   365       Boring Company Records
        (P*)      Custodian Declaration
   18
        366       SpaceX Records Custodian
   19   (P*)      Declaration
        367       Unsigned Agency Agreement
   20   (P*)
        368       The Tham Luang Cave Rescue –        D:
   21   (P*)      A Personal Account by Martin                    Hearsay
   22             Ellis                                           Foundation
                                                                  Authenticity
   23                                                             Relevance
                                                                  FRE 403
   24
        369       Email Howard and Birchall re:
   25   (P*)      Investigation
        370       Email Howard and Birchall re:
   26   (P*)      Investigation
        371       Email Teller and Musk re: Media
   27   (P*)      Contact
   28   372       Email Teller, Birchall, Musk re:
        (P*)      Press Inquiry
                                                     - 23 -
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    1   Exhibit             Description                          Objections      Date         Date
        No.                                                                    Identified   Admitted
    2   373       Email Musk and Benson re: Flint    D:
    3   (P*)                                                     Hearsay
                                                                 Foundation
    4                                                            Relevance
                                                                 FRE 403
    5   374       Musk Google Alerts                 D:
    6   (P*)                                                     Hearsay
                                                                 Foundation
    7                                                            Relevance
                                                                 FRE 403
    8
        375       Musk Google Alerts                 D:
    9   (P*)                                                     Hearsay
                                                                 Relevance
   10   376       Musk Google Alerts                 D:
        (P*)                                                     Hearsay
   11
                                                                 Relevance
   12   377       Email Musk to Musk re: Tweet       D:
        (P*)                                                     Hearsay
   13                                                            Relevance
   14   378       List of Ongoing Litigation         D:
        (P*)                                                     Hearsay
   15                                                            Foundation
                                                                 Relevance
   16                                                            FRE 403
   17   380       Text Musk and Teller
        (P*)
   18   381       Text Musk and Davis
        (P*)
   19   382       Text Musk and Harris
        (P*)
   20
        383       Text Musk and O’Brien
   21   (P*)
        385       Text Musk and Grimes               D:
   22   (P*)                                                     Hearsay
                                                                 Foundation
   23
                                                                 Relevance
   24                                                            FRE 403
        386       Email Reymenants and Davis
   25   (P*)
        387       Email Glover, Hilton, Felten       D:
   26   (P*)      (Produced by Ridgley Walsh)                    Hearsay
   27                                                            Foundation
                                                                 Relevance
   28                                                            FRE 403
                                                    - 24 -
                                         AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                           Objections        Date         Date
        No.                                                                       Identified   Admitted
    2   388       Ridgley Walsh Records
    3   (P*)      Certification executed by Glover
        389       Musk Twitter Profile                D:
    4   (P*)                                                      Relevance
                                                                  Hearsay
    5   390       Musk Twitter Profile
    6   (P*)
        391       Musk Twitter Profile
    7   (P*)
        397       Email T. Wilson to M. Lifrak Re:    D:
    8   (P*)      SERVICE – Unsworth v. Musk,                     Relevance
                  Case no. 2:18-cv-08048-SVW-JC                   FRE 403
    9             – Initial Disclosures
   10   398       Declaration of Jared Birchall       D:
        (P*)                                                      Foundation
   11                                                             Relevance
                                                                  Work Product
   12
                                                                  Hearsay
   13                                                             FRE 403
        399       Defendant’s Privilege Log           D:
   14   (P*)                                                      Foundation
   15                                                             Relevance
                                                                  Work Product
   16                                                             Hearsay
                                                                  FRE 403
   17   400       Articles Referenced in Dr.          D:
   18   (P*)      Jansen Report                                   Hearsay
        401       Reuters Article “Elon Musk          D:
   19   (P*)                                                      Hearsay
                  shows off ‘kid-sized
   20             submarine’ he thinks can
                  help in Thai cave rescue”
   21                                                 D:
        402       Interesting Engineering
   22   (P*)      Article “Elon Musk Drops                        Hearsay
                  off ‘Kid-Size’ Submarine to
   23
                  Help Rescue Thai Soccer
   24             Team From the Cave”
        403       Newsweek Article “Elon              D:
   25                                                             Hearsay
        (P*)      Musk Shocked by Thai Cave
   26             Backlash: ‘Something’s
   27             Messed Up if This is Not a
                  Good Thing’”
   28
                                                     - 25 -
                                         AMENDED JOINT EXHIBIT LIST
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    1   Exhibit            Description                          Objections     Date         Date
        No.                                                                  Identified   Admitted
    2                                               D:
        404       Dezeen Article “Elon Musk
    3   (P*)      rebuffs claims tiny                           Hearsay
                  submarine was impractical
    4
                  for cave rescue”
    5   405       The New York Times                D:
        (P*)      Article “Elon Musk Defends                    Hearsay
    6
                  His Rejected Mini-Sub Plan
    7             for Thai Cave”
        406       YouGov Article “World’s           D:
    8                                                           Hearsay
        (P*)      most admired 2019”
    9   407       Time Article “Time 100:           D:
        (P*)      The Most Influential People                   Hearsay
   10
                  of 2018”
   11   408       Time Article “Elon Musk Is        D:
        (P*)      on the 2018 Time 100 List”                    Hearsay
   12
        409       Business Insider South            D:
   13   (P*)      America Article “Elon Musk                    Hearsay
   14             (46) the 25th most influential
                  person in the world”
   15   410       The New York Times                D:
        (P*)      Article “Divers in Thailand                   Hearsay
   16
                  Scour Cave for Missing
   17             Soccer Team and Coach”
   18   411       The New York Times                D:
        (P*)      Article “Soccer Team Is                       Hearsay
   19             Found Alive in Thailand
   20             Cave Rescue”
        412       The New York Times                D:
   21   (P*)      Article “Thailand Cave                        Hearsay
   22             Rescue Turns to How to
                  Extract Trapped Soccer
   23             Team”
   24   413       The New York Times                D:
        (P*)      Article “Thai Cave Rescue                     Hearsay
   25
                  Will Be a Murky and
   26             Desperate Ordeal, Divers
                  Say”
   27
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                                     AMENDED JOINT EXHIBIT LIST
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    1   Exhibit            Description                         Objections     Date         Date
        No.                                                                 Identified   Admitted
    2                                              D:
        414       The New York Times
    3   (P*)      Article “4 Team Members                      Hearsay
                  Are Out of Thailand Cave,
    4
                  With 9 to Go”
    5   415       The New York Times               D:
        (P*)      Article “How Rescuers in a                   Hearsay
    6
                  Thai Cave Pulled Off the
    7             Impossible”
        416       The New York Times               D:
    8                                                          Hearsay
        (P*)      Article “’Still Can’t Believe
    9             It Worked’: The Story of the
   10             Thailand Cave Rescue”
        417       Bloomberg Businessweek           D:
   11   (P*)      Article “When Elon Musk                      Hearsay

   12             Tried to Destroy Tesla
                  Whistleblower Martin
   13             Tripp”
        418       Elon Musk Tweets                 D:
   14
        (P*)      responding to @zeynep and                    Hearsay
   15             @elonmusk (“pedo guy”)
   16   419       New York Times Article           D:
        (P*)      “What Elon Musk Should                       Hearsay
   17             Learn From the Thailand
   18             Cave Rescue”
        420       Elon Musk Tweet                  D:
   19   (P*)      responding to @zeynep                        Hearsay
   20             (“pedo guy”) from Vox
                  Article “Elon Musk just
   21             called one of the Thai cave
   22             rescuers a pedophile”
        421       Elon Musk Tweet                  D:
   23   (P*)      responding to                                Hearsay
   24             @GossiTheDog (“bet ya a
                  signed dollar it’s true) from
   25             Time Magazine
   26   422       Archived Elon Musk with          D:
        (P*)      tweets from @zeynep and                      Hearsay
   27
                  @elonmusk
   28
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                                     AMENDED JOINT EXHIBIT LIST
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    1   Exhibit            Description                          Objections      Date         Date
        No.                                                                   Identified   Admitted
    2                                               D:
        423       Twitter thread with tweets
    3   (P*)      from @zeynep and                              Hearsay
                  @elonmusk
    4                                               D:
        424       Gizmodo Article “Is Elon
    5   (P*)      Musk Serious?”                                Hearsay
        425       The New Republic Article          D:
    6                                                           Hearsay
        (P*)      “Is Elon Musk’s ‘kid-sized
    7             submarine’ a gimmick?”
        426       RNZ News Article “Why             D:
    8                                                           Hearsay
                  was Elon Musk at the Thai
    9             cave rescue?”
        427       Dr. Jansen Amended Expert         D:
   10
        (P*)      Report                                        Hearsay
   11                                                           Foundation
                                                                FRE 403
   12   428       Appendix D to Dr. Jansen          D:
        (P*)      Amended Expert Report –                       Hearsay
   13
                  Links to Articles
   14   429       Appendix E to Dr. Jansen          D:
   15   (P*)      Amended Expert Report –                       Hearsay
                  Google Trends Graphs
   16   430       Appendix f to Dr. Jansen          D:
   17   (P*)      Amended Expert Report –                       Hearsay
                  Cites to Supporting and
   18             Supplementary Documents
   19   431       Appendix G to Dr. Jansen          D:
        (P*)      Amended Expert Report –                       Hearsay
   20
                  List of Countries
   21   432       Dr. Jansen Amended                D:
        (P*)      Spreadsheet – Working                         Hearsay
   22
                  Papers
   23   500       PIA reprimands Burgess Wreford     P:
        (D)       & Unsworth                                    Hearsay
   24                                                           Relevance
   25                                                           Prejudice
        501       Mark Stephens Tweet: Hip Hip       P:
   26   (D)       Hoo Ray @Buzzfeed                             Hearsay
                                                                Relevance
   27                                                           Prejudice
   28
                                                   - 28 -
                                     AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                            Objections     Date         Date
        No.                                                                     Identified   Admitted
    2   502       Article: Media lawyers: Why           P:
    3   (D)       Donald Trump is unlikely to sue                  Hearsay
                  in UK or US over 'dirty dossier'                 Relevance
    4             media revelations                                Prejudice
        503       Article: Buzzfeed seeks court         P:
    5   (D)       order forcing Press Gazette to                   Hearsay
    6             release confidential journalistic                Relevance
                  material                                         Prejudice
    7   504       Article: A Media Lawyer Says          P:
        (D)       There Will Be A Huge "Chilling                   Hearsay
    8             Effect" From The Daily Mail's                    Relevance
    9             Libel Payout To Melania Trump                    Prejudice
        505       Email from John Paczkowski to         P:
   10   (D)       Dave Arnold re story on NLRB                     Relevance
                  charges                                          Hearsay
   11
        506       Email from Caroline O‘Donovan         P:
   12   (D)       to Dave Arnold re response to                    Relevance
                  worksafe report?                                 Hearsay
   13   507       Email from Caroline O‘Donovan         P:
   14   (D)       to Dave Arnold re nlrb complaint                 Relevance
                  response                                         Hearsay
   15   508       BuzzFeed News Standards and           P:
        (D)       Ethics Guide                                     Relevance
   16                                                              Prejudice
   17                                                              Confusion
        509       Email from Caroline O‘Donovan         P:
   18   (D)       to Dave Arnold re comment on                     Relevance
                  elon's tweet?                                    Hearsay
   19   510       Email from Caroline O‘Donovan         P:
   20   (D)       to Gina Antonini; Dave Arnold re                 Relevance
                  cuts to salaried employees?                      Hearsay
   21   511       Article: Heavy rains frustrate        P:
        (D)       search for teen soccer team                      Relevance
   22             trapped in Thai cave                             Hearsay
   23   512       Article: As Search for Thai Boys      P:
        (D)       Lost in Cave Hits Day 5, a Nation                Relevance
   24             Holds Its Breath                                 Hearsay
        513       British Cave Explorer Joins           P:
   25   (D)       Search for Missing Thai Soccer                   Relevance
   26             Team (Transcript)
        514       British Cave Explorer Joins           P:
   27   (D)       Search for Missing Thai Soccer                   Relevance
                  Team (Video)
   28
                                                      - 29 -
                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   515       Article: Thai cave rescuers try         P:
    3   (D)       another entry point to find                        Relevance
                  trapped soccer team                                Hearsay
    4   516       BBC ฟง นนทชนก วงษสมทร... -              P:
        (D)       บบซไทย - BBC Thai (Video)                          Relevance
    5
        517       Crews Search Thai Cave for              P:
    6   (D)       Missing Teens (Transcript)                         Relevance
        518       Crews Search Thai Cave for              P:
    7   (D)       Missing Teens (Video)                              Relevance
    8   519       Article: 7 days in the dark: Time       P:
        (D)       is running out for teenage soccer                  Relevance
    9             team                                               Hearsay
        520       Article: 9 days of hell: Inside the     P:
   10
        (D)       race to save a soccer team trapped                 Relevance
   11             in a cave                                          Hearsay
        521       Article: Thailand Cave Rescue           P:
   12   (D)       Turns to How to Extract Trapped                    Relevance
                  Soccer Team                                        Hearsay
   13
        522       Article: British caver is hailed a      P:
   14   (D)       'magician' after convincing Thai                   Relevance
                  officials to bring in heroic UK                    Hearsay
   15             divers who found stranded
                  schoolboys, aided by his
   16             knowledge of the tunnels
   17   523       Elon Musk Tweet: Boring Co has          P:
        (D)       advanced ground penetrating                        Hearsay
   18             radar & is pretty good at digging
                  holes. Don’t know if pump rate is
   19             limited by electric power or
                  pumps are too smal. If so, could
   20             dropship fully charged
   21             Powerpacks and pumps.
        524       Elon Musk Tweet: I suspect that         P:
   22   (D)       the Thai govt has this under                       Hearsay
                  control, but I'm happy to help if
   23             there is a way to do so
   24   525       Email from Elon Musk to Steve           P:
        (D)       Davis re Is there anything we                      Hearsay
   25             could do short notice?
        526       Email from Elon Musk to Steve           P:
   26   (D)       Davis; Jared Birchall re Flint,                    Hearsay
                  Michigan
   27   527       Mine Rescue Document                    P:
   28   (D)                                                          Hearsay

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    1   Exhibit             Description                             Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   528       Elon Musk Tweet: Maybe worth
    3   (D)       trying: insert a 1m diameter nylon
                  tube (or shorter set of tubes for
    4             most difficult sections) through
                  cave network & inflate with air
    5             like a bouncy castle. Should
                  create an air tunnel underwater
    6             against cave roof & auto-conform
    7             to odd shapes like the 70cm hole.
        529       Email from Sam Teller to Elon          P:
    8   (D)       Musk; Steve Davis re Rescue                       Hearsay
                  help
    9   530       Article: Thailand cave rescue: Ex-     P:
   10   (D)       navy diver dies on oxygen supply                  Hearsay
                  mission
   11   531       Elon Musk Tweet: Building              P:
        (D)       double-layer Kevlar pressure                      Hearsay
   12             pods with Teflon coating to slip
                  by rocks & front/rear rope tow
   13             hitch & lead pockets for neutral
   14             buoyancy. ~60 cm oval. Testing
                  this aft in a pool with a subject
   15             who has never done SCUBA. Do
                  the divers think something like
   16             this might work?
        532       Elon Musk Tweet: Does you
   17   (D)       know output voltage & amperage
   18             of those generator trucks? 3
                  phase? What frequency? Will
   19             need high voltage transformer to
                  carry power over distance or very
   20             thick cable. Beyond that, only
                  batteries will work. Will prep
   21
                  Powerwalls in case needed.
   22   533       Elon Musk Tweet: Looks like 1st        P:
        (D)       bit of water is close enough to                   Hearsay
   23             entrance to be pumped out. 2nd &
                  3rd would need battery packs, air
   24             pumps & tubes. If depth of 2nd is
   25             accurate, would need ~0.5 bar
                  tube pressure. Prob need to enter
   26             tube, zip up & then transit.

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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   534       Elon Musk Tweet: Prob wise to           P:
    3   (D)       add an air tank (butt end fwd to                   Hearsay
                  take impacts) in nose of pod &
    4             vent valve in rear. Set air tank to
                  slow bleed rate, then no need for
    5             SCUBA mouthpiece or regulator.
                  Training unnecessary & less
    6             susceptible to panic attack.
    7   535       Elon Musk Tweet: Should be              P:
        (D)       possible to increase the air inflow                Hearsay
    8             rate above the leak rate, unless
                  there is a very big hole. If oxygen
    9             % is dropping, suggests that leak
                  holes are not large.
   10
        536       Elon Musk Tweet: SpaceX &               P:
   11   (D)       Boring Co engineers headed to                      Hearsay
                  Thailand tomorrow to see if we
   12             can be helpful to govt. There are
                  probably many complexities that
   13             are hard to appreciate without
   14             being there in person.
        537       Elon Musk Tweet: Yeah, that’s           P:
   15   (D)       what I’m talking about in that                     Hearsay
                  tweet — double-layer Kevlar
   16             pressure pod with Teflon coating.
                  Other approach is a long
   17             inflatable air sock. Both worth
   18             trying.
        538       Email from Andrew Branagh to            P:
   19   (D)       Charlie Notthoff; Steve Davis;                     Relevance
                  Michael Altenhofen re info
   20   539       Email from Elissa Butterfield to        P:
   21   (D)       Sam Teller; Steve Davis re Thai                    Relevance
                  cave tube: Zero-force zipper                       Hearsay
   22             solution
        540       Email from Elon Musk to Chris           P:
   23   (D)       Bowman re Thai soccer team                         Hearsay
                  rescue
   24   541       Email from Elon Musk to Lyndon          P:
   25   (D)       Rive re Thailand Dive Rescue                       Hearsay
        542       Email from Elon Musk to Zach            P:
   26   (D)       Dunn re Thai Support                               Hearsay
   27
   28
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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                             Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   543       Email from James Gleeson to            P:
    3   (D)       Begona Blanco Munoz; SpaceX                       Hearsay
                  Media Relations; Yazhou Sun et
    4             al. re CNN International
                  Interview Enquiry - Elon Musk
    5   544       Email from Lyndon Rive to Elon         P:
        (D)       Musk re Thailand                                  Hearsay
    6
        545       Email from Nuttapon Nakarach to        P:
    7   (D)       Steve Davis; Sam Teller;                          Hearsay
                  Jonathan Hofeller et al. re Rescue
    8             help
        546       Email from Sam Teller to Dave          P:
    9   (D)       Arnold; Evelyn Tay; Steve Davis                   Hearsay
   10             re Elon Musk, Concerning
                  Thailand Rescue 12 Boys
   11   547       Email from Sam Teller to David         P:
        (D)       O'Gorman; Will Draffin; Elisa                     Hearsay
   12             Butterfield et al. re TONIGHT /
                  Flight to Thailand
   13
        548       Email from Sam Teller to Elon
   14   (D)       Musk re Underwater surveying
        549       Email from Steve Davis to              P:
   15   (D)       Florence Li; Christopher                          Hearsay
   16             Bowman; Christopher Wallden et
                  al. re Rescue help
   17   550       Email from Steve Davis to Sam          P:
        (D)       Teller; Vincent Werner; Florence                  Hearsay
   18             Li et al. re Internal distro
        551       Email from Steve Davis to              P:
   19   (D)       Thailand re Pod and Tube update                   Hearsay
   20   552       Elon Musk Tweet: 4                     P:
        (D)       handles/hitch points on front & 4                 Hearsay
   21             on rear. 2 air tank connections on
                  front & 2 on rear, allowing 1 to 4
   22
                  tanks simultaneously connected,
   23             all recessed for impact protection
                  w secondary cap seal if leak
   24             develops.
        553       Elon Musk Tweet: Construction          P:
   25   (D)       complete in about 8 hours, then                   Hearsay
   26             17 hour flight to Thailand

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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   554       Elon Musk Tweet: Continue to be         P:
    3   (D)       amazed by the bravery, resilience                  Relevance
                  & tenacity of kids & diving team
    4             in Thailand. Human character at
                  its best.
    5   555       Elon Musk Tweet: Extremely              P:
        (D)       talented dive team. Makes sense                    Relevance
    6             given monsoon. Godspeed.
    7   556       Elon Musk Tweet: Fitted for a kid       P:
        (D)       or small adult to minimize open                    Hearsay
    8             air. Segmented compartments to
                  place rocks or dive weights &
    9             adjust bouyancy.
   10   557       Elon Musk Tweet: Got more               P:
        (D)       great feedback from Thailand.                      Hearsay
   11             Primary path is basically a tiny,
                  kid-size submarine using the
   12             liquid oxygen transfer tube of
                  Falcon rocket as hull. Light
   13             enough to be carried by 2 divers,
   14             small enough to get through
                  narrow gaps. Extremely robust.
   15   558       Elon Musk Tweet: Some good              P:
        (D)       feedback from cave experts in                      Hearsay
   16             Thailand. Iterating with them on
                  an escape pod design that might
   17             be safe enough to try. Also
   18             building an inflatable tube with
                  airlocks. Less likely to work,
   19             given tricky contours, but great if
                  it does.
   20   559       Elon Musk Tweet: Will do. Even
        (D)       if not useful here, perhaps it will
   21
                  be in a future situation.
   22   560       Email from Andrew Liptak to             P:
        (D)       James Gleeson; SpaceX Media                        Hearsay
   23             Relations re Request for
                  Comment: Escape Pod
   24   561       Email from Armor Harris to              P:
   25   (D)       Thailand re Notes from Chat with                   Hearsay
                  Ben Reymenants (Diver on Site)
   26   562       Email from Brandon Hahn to              P:
        (D)       Steve Davis; Shakes; Matt                          Hearsay
   27             Chambers et al. re Thailand
                  survey
   28
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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                             Objections      Date         Date
        No.                                                                        Identified   Admitted
    2   563       Email from Elon Musk to                 P:
    3   (D)       EMDesk re Thailand soccer team                     Hearsay
                  rescue: Conditions now "most
    4             suitable" but monsoon threatens
        564       Email from Elon Musk to Sam             P:
    5   (D)       Teller re Thailand                                 Hearsay
    6   565       Email from Jake Maxwell Watts           P:
        (D)       to James Gleeson; SpaceX Media                     Hearsay
    7             Relations re Wall Street Journal --                Cumulative
                  urgent deadline
    8   566       Email from James Gleeson to             P:
        (D)       Jake Maxwell Watts; SpaceX                         Hearsay
    9             Media Relations re Wall Street                     Cumulative
   10             Journal -- urgent deadline
        567       Email from Robin Sielert to Mike        P:
   11   (D)       Kato; Dave Lua; Nuttapon                           Hearsay
                  Nakarach et al. re SpaceX                          Cumulative
   12             contract
        568       Elon Musk Tweet: A second one           P:
   13
        (D)       that is 30cm shorter is almost                     Hearsay
   14             complete
        569       Elon Musk Tweet: According to           P:
   15   (D)       divers who have made the                           Hearsay
                  journey, this is capable of
   16             maneuvering through all passages
   17   570       Elon Musk Tweet: According to           P:
        (D)       divers who have made the                           Hearsay
   18             passage, yes. However, we also
                  made an exact replica that is
   19             inflatable, so that the entire path
                  can be tested without risk of
   20             blockage.
   21   571       Elon Musk Tweet: Buoyancy               P:
        (D)       adjusted by strapping diver                        Hearsay
   22             weight belts around body of
                  capsule. They’re prevented from
   23             sliding off by the 6 diver
                  handhold attachments
   24
        572       Elon Musk Tweet: Design based           P:
   25   (D)       on dive team feedback (primarily                   Hearsay
                  Stanton): 4 air / oxygen ports
   26             front & rear, front ports protected
                  by nosecone. Dual O-ring seal on
   27             acrylic rear plate with clear view
   28             of occupant head. Leak/buckling
                  proof to 10X cave water pressure.
                                                        - 35 -
                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                             Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   573       Elon Musk Tweet: Diver weight          P:
    3   (D)       belts wrapped around outside.                     Hearsay
                  Mini-sub only weighs ~40kg dry,
    4             so easy to carry on long dry
                  sections of cave, then add weight
    5             belts for wet sections.
        574       Elon Musk Tweet: Given Chiang          P:
    6   (D)       Rai airport hours, soonest we                     Hearsay
    7             could’ve departed US was an
                  hour ago, but cave now closed for
    8             diver rescue. Will continue
                  testing in LA in case needed later
    9             or for somewhere else in future.
   10   575       Elon Musk Tweet: It is an honor        P:
        (D)       to work with them                                 Relevance
   11   576       Elon Musk Tweet: Mini-sub              P:
        (D)       arriving in about 17 hours.                       Hearsay
   12             Hopefully useful. If not, perhaps
                  it will be in a future situation.
   13   577       Elon Musk Tweet: Pretty close.         P:
   14   (D)       There is a nosecone on the front                  Hearsay
                  to protect against rocks impacting
   15             fwd air hoses with a hole on the
                  side for hoses to exit.
   16   578       Elon Musk Tweet: Simulating            P:
   17   (D)       maneuvering through a narrow                      Hearsay
                  passage
   18   579       Elon Musk Tweet: Thanks, but           P:
        (D)       we’ve not done anything useful                    Relevance
   19             yet. It is all other people.
        580       Elon Musk Tweet: Video                 P:
   20   (D)                                                         Hearsay
   21   581       Elon Musk Tweet: Yeah, that            P:
        (D)       sounds cool. Music makes things                   Hearsay
   22             better. Calms the mind. Adding
                  padded wall pockets for a hand
   23             radio & phone/music player.
   24   582       Email from Elon Musk to Steve          P:
        (D)       Davis; Zach Dunn re This Is Elon                  Hearsay
   25             Musk
        583       Email from Sean Pitt to Michelle       P:
   26   (D)       Monroe; SpaceX Media Relations                    Hearsay
                  re Associated Press media inquiry                 Relevance
   27
   28
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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                             Objections      Date         Date
        No.                                                                        Identified   Admitted
    2   584       Email from Will Heltsley to Zach        P:
    3   (D)       Dunn; Christopher Bowman;                          Hearsay
                  Vincent Werner et al. re pod
    4             documentation for discussion
                  with govt officials, if required
    5   585       Email from Zach Dunn to Elon            P:
        (D)       Musk; Thailand re This Is Elon                     Hearsay
    6             Musk                                               Cumulative
    7   586       Email from Zach Dunn to                 P:
        (D)       Vincent Werner; Mark                               Hearsay
    8             Concannon; Florence Li et al. re                   Relevance
                  Pegasus
    9   587       Submarine Test (Video)
   10   (D)
        588       Submarine Test (Video)
   11   (D)
        589       Email from Christopher Eby to           P:
   12   (D)       Steve Davis; Thailand re Am                        Hearsay
   13             about to enter China airspace.
                  Please feel free to reply via
   14             SpaceX twitter.
        590       Email from James Gleeson to             P:
   15   (D)       Nur-Azna Sanusi re REUTERS                         Hearsay
                  REQUEST PERMISSION TO
   16             USE WING INFLATABLES
   17             IMAGES
        591       Email from James Gleeson to             P:
   18   (D)       Sam Teller re Q's for WIRED                        Hearsay
                  story on Thai cave rescue
   19   592       Email from Yazhou Sun to James          P:
   20   (D)       Gleeson; SpaceX Media                              Hearsay
                  Relations re CNN International
   21             Interview Enquiry - Elon Musk
        593       Lin Wood Tweet: There are so            P:
   22   (D)       many incredibly heroic and good                    Relevance
                  people in the world....                            Hearsay
   23   594       Article: Meet the seven British         P:
   24   (D)       divers playing leading roles in the                Hearsay
                  Thai cave rescue mission
   25
   26
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                                         AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   595       Elon Musk Tweet: Good for               P:
    3   (D)       rescuing vulnerable patients in                    Hearsay
                  dangerous environments,
    4             particularly if water, toxic gas or
                  dangerous bacteria/viruses
    5             present, as patient would remain
                  dry & at std air pressure entire
    6             time.
    7   596       Elon Musk Tweet: Great news             P:
        (D)       that they made it out safely.                      Relevance
    8             Congratulations to an outstanding
                  rescue team!
    9   597       Elon Musk Tweet: Just returned          P:
   10   (D)       from Cave 3. Mini-sub is ready if                  Hearsay
                  needed. It is made of rocket parts
   11             & named Wild Boar after kids’
                  soccer team. Leaving here in case
   12             it may be useful in the future.
                  Thailand is so beautiful.
   13   598       Elon Musk Tweet: Moreover,              P:
   14   (D)       based on extensive cave video                      Hearsay
                  review & discussion with several
   15             divers who know journey,
                  SpaceX engineering is absolutely
   16             certain that mini-sub can do entire
                  journey & demonstrate at any
   17             time.
   18   599       Email from Armor Harris to              P:
        (D)       Thailand re U.S. Embassy                           Hearsay
   19             Bangkok/U.S. Commercial
                  Service Thailand
   20   600       Email from James Gleeson to             P:
   21   (D)       Michelle Monroe; SpaceX Media                      Hearsay
                  Relations; Sean Pitt re Associated
   22             Press media inquiry
        601       Email from James Gleeson to             P:
   23   (D)       Yazhou Sun; SpaceX Media                           Hearsay
                  Relations re CNN International
   24             Interview Enquiry - Elon Musk
   25   602       Elon Musk Tweet: Glad to hear           P:
        (D)       that. Engineering team also                        Hearsay
   26             getting feedback from the British
                  dive team on how to improve the
   27             design for future applications.
   28
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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   603       Elon Musk Tweet: This reaction          P:
    3   (D)       has shaken my opinion of many                      Hearsay
                  people. We were asked to create a
    4             backup option & worked hard to
                  do so. Checked with dive team
    5             many times to confirm it was
                  worthwhile. Now it’s there for
    6             anyone who needs it in future.
    7             Something’s messed up if this is
                  not a good thing.
    8   604       Elon Musk Tweet: Yes. Caves are         P:
        (D)       now filled with water again.                       Hearsay
    9             Difficulty of passage is massively
                  dependent on water level. Little
   10
                  kids can walk/swim in when low,
   11             but it can be deadly to pro divers
                  when high. Pump & generator
   12             engineering team deserves some
                  credit for the rescue.
   13   605       Email from Chris Bowman to              P:
   14   (D)       Christopher Bowman re Pegasus                      Hearsay
                                                                     Relevance
   15   606       Email from Christopher Wallden          P:
        (D)       to James Gleeson; Armor Harris;                    Hearsay
   16             Sam Teller re Thailand Cave
                  Rescue PBS NOVA
   17
        607       Email from Sam Teller to DL-            P:
   18   (D)       USComms re Thai cave rescue:                       Hearsay
                  Elon Musk’s plan to help                           Relevance
   19             involved a mini-submarine —
                  Vox
   20   608       Text from Unknown to Elon               P:
   21   (D)       Musk re British cave team                          Hearsay
        609       Article: “This is madness”: A           P:
   22   (D)       rescue diver on what it was like to                Hearsay
                  save the Thai boys in the cave
   23
        610       Elon Musk Tweet: The pumps I            P:
   24   (D)       saw were running v high flow rate                  Hearsay
                  all the way from cave 3. They
   25             stopped shortly after boys were
                  rescued & water level rose to roof
   26             level all way back to cave 1. That
                  was great work.
   27
   28
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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   611       Email from Elon Musk to Keith           P:
    3   (D)       Cowing re Tired of                                 Hearsay
                  @ElonMusk/@SpaceX rescue
    4             bashing
        612       Email from Sam Teller to                P:
    5   (D)       Alexander Davies; James                            Hearsay
                  Gleeson; SpaceX Media
    6             Relations; W D re Q's for
    7             WIRED story on Thai cave
                  rescue
    8   613       Article: ‘Time is running out’:         P:
        (D)       Inside the treacherous rescue of                   Hearsay
    9             boys trapped in a Thai cave
   10   614       Article: British diver recalls Thai     P:
        (D)       cave rescue: 'Are we heroes? No'                   Hearsay
   11   615       Email from James Gleeson to
        (D)       Sam Teller; Steve Davis; Sean
   12             Pitt re CNN: Cave rescuer slams
   13             Elon Musk's submarine idea
        616       Article: Elon Musk ‘Can Stick           P:
   14   (D)       His Submarine Where It Hurts,’                     Hearsay
                  Says Diver in Thai Cave Rescue
   15   617       Article: Elon Musk 'can stick his       P:
   16   (D)       submarine where it hurts' says                     Hearsay
                  British diver who helped Thai
   17             cave rescue
        618       Email from Google Alerts to Elon
   18   (D)       Musk re Google Alert - Elon
                  musk
   19   619       Email from Katherine Chan to
   20   (D)       Sarah O'Brien re CNN Facebook,
                  Cave rescuer slams Elon Musk’s
   21             submarine idea
        620       Article: Exclusive interview with       P:
   22   (D)       Thai cave rescue hero Vernon                       Hearsay
                  Unsworth: 'If the Brits hadn't
   23             been called in, it would have been
   24             too late'
        621       Email from Julia Wong to Elon           P:
   25   (D)       Musk re Accusing diver of being                    Hearsay
                  a pedophile
   26   622       Email from Press to Sam Teller re
   27   (D)       Request for response to British
                  diver's comments re: Thai cave
   28             rescue submarine idea

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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                           Objections      Date         Date
        No.                                                                     Identified   Admitted
    2   623       Email from Remy Smidt to
    3   (D)       SpaceX Media Relations re
                  BuzzFeed News: Request for
    4             comment
        624       Total views of an article
    5   (D)       published on buzzfeednews.com
    6   625       Article: Elon Musk And British       P:
        (D)       Diver Exchange Harsh Words                      Relevance
    7             Over Thai Cave Rescue
        626       Email from Avi Selk to SpaceX
    8   (D)       Media Relations;
    9             Press@tesla.com re Seeking
                  comment on Musk "pedo"
   10             comments and fallout
        627       Email from Elon Musk to Elon         P:
   11   (D)       Musk re Tweet by Walter M. on                   Hearsay
                  Twitter                                         Prejudice
   12
                                                                  Misleading
   13   628       Email from Google Alerts to          P:
        (D)       jehn@boringcompany.com re                       Hearsay
   14             Google Alert - elon musk                        Relevance
   15   629       Email from James Gleeson to
        (D)       David Harris; Tim Hughes re
   16             Thai tweets
        630       Mark Stephens Tweet: British         P:
   17   (D)       cave diver considering legal                    Hearsay
   18             action over Elon Musk's (utterly                Relevance
                  false) 'pedo' Twitter attack
   19   631       PPTV เปดใจ “เวรน อนสเวรธ”
        (D)       กญแจสาคญภารกจชวย 13 ชวต -
   20             เขมขาวคา (Video)
   21   632       Total views of an article
        (D)       published on buzzfeednews.com
   22   633       Elon Musk Tweet: And mostly          P:
   23   (D)       nobody mentioned the letter Elon                Hearsay
                  got from Richard "Rick" Stanton,
   24             who IS a very experienced
                  RESCUE DIVER. Stanton to
   25             Elon: "We're worried about the
                  smallest lad please keep working
   26             on he capsule details" Y cnt
                  @elonmusk share importnt
   27
                  concerns on his priv. Tw. acc?
   28
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                                       AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                            Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   634       Email from Erica Chen to Sarah
    3   (D)       O'Brien; Dave Arnold re
                  Coverage on E's tweet
    4   635       Email from Philip Sherwell to          P:
        (D)       Vernon Unsworth re The Sunday                     Hearsay
    5             Times p2-3                                        Relevance
    6   636       Mark Stephens Tweet: Diver             P:
        (D)       Who Helped Thai Boys May Sue                      Relevance
    7             Elon Musk After Billionaire                       Hearsay
                  Labelled Falsely Him A 'Pedo'
    8   637       Ryan Mac Tweet: Elon Musk
        (D)       tries to apologize and admits he
    9             called the rescue diver a
   10             pedophile in anger, but not before
                  he accuses him of lying. This is
   11             going to be red meat for the
                  diver's lawyers.
   12   638       Article: Elon Musk and the Thai        P:
   13   (D)       cave rescue: a tale of good                       Hearsay
                  intentions and bad tweets
   14   639       Article: Elon Musk apologizes for      P:
        (D)       calling Thailand rescue diver a                   Hearsay
   15             ‘pedo’
        640       Email from Elon Musk to Mike           P:
   16   (D)       Schwartz re Thank You                             Hearsay
   17   641       Mark Stephens Tweet: Elon Musk         P:
        (D)       apologises to diver for Twitter                   Relevance
   18             attack                                            Hearsay
   19   642       Vernon Unsworth Instagram:             P:
        (D)       Tham Luang Thailand Rescue                        Hearsay
   20                                                               Relevance
        643       Elon Musk Tweet: I apologized.         P:
   21   (D)       Do you stand by your guillotine                   Hearsay
   22             statement
                  or not?
   23   644       Email from Dave Arnold to Todd
        (D)       Maron; Sam Teller; Sarah
   24             O'Brien re he Daily Mail,
                  EXCLUSIVE: 'Elon should be
   25             shot!‘ Mother of hero British
   26             caver says billionaire Musk needs
                  his mouth taped up for calling her
   27             son 'pedo guy'

   28
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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                         Objections      Date         Date
        No.                                                                   Identified   Admitted
    2   645       Letter from Lieutenant General     P:
    3   (D)       Sunai Praphuchanay to Elon                    Hearsay
                  Musk re Appreciation and
    4             Gratitude
        646       Email from Philip Sherwell to      P:
    5   (D)       Vernon Unsworth re Letter from                Hearsay
                  an ST reader                                  Relevance
    6
        647       Email from Philip Sherwell to      P:
    7   (D)       Vernon Unsworth re Vernon                     Hearsay
                  Unsworth                                      Relevance
    8                                                           Prejudice
    9   648       Email from Matt Gutman to          P:
        (D)       Vernon Unsworth re Exploration                Hearsay
   10             - Tham Luang Monks Series
        649       Email from Matt Gutman to          P:
   11
        (D)       Vernon Unsworth re Tham Luang                 Relevance
   12             Cave
        650       Email from Vernon Unsworth to      P:
   13   (D)       Matt Gutman re Tham Luang                     Relevance
                  Cave
   14   651       Email from Vernon Unsworth to      P:
   15   (D)       Matt Gutman re Video 2 Does                   Relevance
                  this work better - Tham Luang
   16             Monks Series
        652       Vernon Unsworth photo              P:
   17   (D)                                                     Relevance
   18                                                           Cumulative
        653       Email from Elon Musk to Kimmy
   19   (D)       Hart Bennett re Defamation of
                  Vernon Unsworth
   20   654       Email from Kimmy Hart Bennett
        (D)       to Elon Musk; Mark Stephens;
   21             Lin Wood re Defamation of
   22             Vernon Unsworth
        655       Email from Kimmy Hart Bennett
   23   (D)       to ElonMuskOffice; Mark
                  Stephens; Lin Wood re
   24             Defamation of Vernon Unsworth
        656       Email from Kimmy Hart Bennett
   25
        (D)       to
   26             ElonMuskOffice@SpaceX.com;
                  Mark Stephens; Lin Wood re
   27             Defamation of Vernon Unsworth
   28
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                                      AMENDED JOINT EXHIBIT LIST
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    1   Exhibit             Description                            Objections     Date         Date
        No.                                                                     Identified   Admitted
    2   657       Email from Matt Gutman to             P:
    3   (D)       Martin Ellis; Vernon Unsworth re                 Hearsay
                  your surveys                                     Relevance
    4   658       Email from Mark Stephens to Lin       P:
        (D)       Wood; Taylor Wilson; Elizabeth                   Hearsay
    5             Morley; Nikita Sellers re Veron                  Relevance
    6             Unsworth
        659       Email from Martin Ellis to            P:
    7   (D)       Vernon Unsworth; Matt Gutman                     Hearsay
                  re your surveys                                  Relevance
    8   660       Email from James Brickhouse to        P:
    9   (D)       Jupiter Military & Tactical                      Hearsay
                  Systems re Invoice Project
   10             Rowena
        661       Email from Vernon Unsworth to         P:
   11   (D)       Mark Stephens; Elizabeth                         Hearsay
                  Morley; Nikita Sellers re This is
   12             Elon Musk
   13   662       Email from Vernon Unsworth to         P:
        (D)       Mark Stephens; Elizabeth                         Hearsay
   14             Morley; Nikita Sellers re This is
                  Elon Musk
   15   663       Email from Vernon Unsworth to         P:
   16   (D)       Mark Stephens; Elizabeth                         Hearsay
                  Morley; Nikita Sellers re This is
   17             Elon Musk
        664       Email from Vernon Unsworth to         P:
   18   (D)       Mark Stephens; Elizabeth                         Hearsay
                  Morley; Nikita Sellers re This is
   19             Elon Musk
   20   665       Email from Vernon Unsworth to         P:
        (D)       Mark Stephens; Elizabeth                         Hearsay
   21             Morley; Nikita Sellers re This is
                  Elon Musk
   22   666       Email from Vernon Unsworth to         P:
        (D)       Mark Stephens; Elizabeth                         Hearsay
   23             Morley; Nikita Sellers re This is
   24             Elon Musk
        667       Email from Vernon Unsworth to         P:
   25   (D)       Mark Stephens; Elizabeth                         Hearsay
                  Morley; Nikita Sellers re This is
   26             Elon Musk
   27
   28
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                                       AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                            Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   668       Email from Vernon Unsworth to          P:
    3   (D)       Mark Stephens; Elizabeth                          Hearsay
                  Morley; Nikita Sellers re This is
    4             Elon Musk
        669       Email from Jupiter Private to          P:
    5   (D)       James Brickhouse re Project                       Hearsay
                  Rowena
    6
        670       Email from Jupiter Private to          P:
    7   (D)       James Brickhouse re Project                       Hearsay
                  Rowena
    8   671       Email from Werachon                    P:
        (D)       Sukondhapatipak to Steve Davis                    Hearsay
    9             re Greeting from Thailand
   10   672       Email from Jupiter Military &          P:
        (D)       Tactical Systems to Jim                           Hearsay
   11             Brickhouse re Project Rowena
        673       Email from Jupiter Military &          P:
   12   (D)       Tactical Systems to Jim                           Hearsay
                  Brickhouse re Jupiter's -
   13             Capability Statement
   14   674       Letter from Ambassador Virachai        P:
        (D)       Plasai to Elon Musk re Deep                       Hearsay
   15             Appreciation
        675       Email from Jupiter Military &          P:
   16   (D)       Tactical Systems to Jim                           Hearsay
   17             Brickhouse re Project Rowena
        676       Email from Jupiter Private to Jim      P:
   18   (D)       Brickhouse re Project Rowena                      Hearsay
        677       Vernon Unsworth Instagram:             P:
   19   (D)       Back                                              Relevance
   20   678       Email from James Brickhouse to         P:
        (D)       Jupiter Private re Project Rowena                 Hearsay
   21   679       Article: Elon Musk Has Revisited
   22   (D)       His Baseless Pedophile Claims
        680       Drew Olanoff tweet string with
   23   (D)       Ryan Mac and Elon Musk
   24   681       Email from Elon Musk to Sam            P:
        (D)       Teller; David Arnold re Has Elon                  Hearsay
   25             investigated "pedophile" claims?
        682       Email from James Brickhouse to         P:
   26   (D)       Jupiter Private re Target visit to                Hearsay
                  10 Downing Street
   27
   28
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                                        AMENDED JOINT EXHIBIT LIST
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    1   Exhibit              Description                             Objections        Date         Date
        No.                                                                          Identified   Admitted
    2   683       Email from Sam Teller to Jared          P:
    3   (D)       Birchall; Elon Musk re Has Elon                    Hearsay
                  investigated "pedophile" claims?
    4   684       Email from Charles Delaville to         P:
        (D)       Dave Arnold; Caroline Nolan;                       Hearsay
    5             Keely Sulprizio et al. re Reporters
                  reaction to Elon's tweet
    6
        685       Email from Dave Arnold to Russ          P:
    7   (D)       Mitchell; Caroline Nolan re                        Authenticity
                  elon’s at it again                                  (incomplete
    8                                                                 email)
                                                                     Hearsay
    9   686       Email from Eleanor Barker to            P:
   10   (D)       Ben Smith; Ryan Mac re Elon                        Relevance
                  Musk                                               Hearsay
   11   687       Lin Wood Tweet: The British             P:
        (D)       Diver Elon Musk Called A                           Relevance
   12             “Pedo” Threatened To Sue Him                       Hearsay
   13             For Libel
        688       Email from Elon Musk to Ryan            P:
   14   (D)       Mac re Letters                                     Hearsay
        689       Email from Jupiter Military &           P:
   15   (D)       Tactical Systems to Jim                            Hearsay
   16             Brickhouse re Update from
                  Thailand
   17   690       Email from Lin Wood to Ryan             P:
        (D)       Mac re Quote                                       Relevance
   18   691       Email from Lin Wood to Ryan             P:
   19   (D)       Mac re Defamation of Vernon                        Relevance
                  Unsworth
   20   692       Email from Lin Wood to Ryan             P:
        (D)       Mac re Defamation of Vernon                        Relevance
   21             Unsworth
        693       Email from Lin Wood to Ryan             P:
   22   (D)       Mac re Defamation of Vernon                        Relevance
   23             Unsworth
        694       Email from Ryan Mac to Lin              P:
   24   (D)       Wood re Quote                                      Relevance
                                                                     Hearsay
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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   695       Article: EXCLUSIVE: 'I am NOT           P:
    3   (D)       a child bride! Hero British diver's                Hearsay
                  FORTY-year-old girlfriend
    4             demolishes 'laughable' claims by
                  billionaire Elon Musk that he 'is a
    5             paedophile who married a 12-
                  year-old'
    6   696       Email from Ben Smith to Dave            P:
    7   (D)       Arnold re BuzzFeed News: Elon                      Hearsay
        697       Email from Dave Arnold to Elon          P:
    8   (D)       Musk re Heads up: Buzzfeed                         Hearsay
    9             article re: letter from Unsworth
                  attorney
   10   698       Email from Dave Arnold to               P:
        (D)       Juleanna Glover re BuzzFeed                        Hearsay
   11             News: Elon
        699       Email from Dave Arnold to Ryan          P:
   12   (D)       Mac re BuzzFeed News: Elon                         Hearsay
   13   700       Email from Elon Musk to
        (D)       Juleanna Glover re BuzzFeed
   14
        701       Email from Ryan Mac to Dave             P:
   15   (D)       Arnold re BuzzFeed News: Elon                      Hearsay
        702       Email from Ryan Mac to Lin              P:
   16   (D)       Wood re Quote                                      Relevance
   17                                                                Hearsay
        703       Article: Elon Musk Calls
   18   (D)       Thailand Cave Diver a 'Child
                  Rapist' in Angry Email
   19   704       Article: Elon Musk tells a
   20   (D)       reporter to 'stop defending child
                  rapists' as he doubles down on
   21             attacking Thailand cave rescuer
        705       Email from James Brickhouse to          P:
   22   (D)       Jupiter Private re Project Rowena                  Hearsay
   23   706       Email from Jupiter Private to Jim       P:
        (D)       Brickhouse re Project Rowena                       Hearsay
   24   707       Email from Matt Gutman to               P:
   25   (D)       Vernon Unsworth re a graph                         Relevance
                  about you ...                                      Hearsay
   26                                                                Prejudice
        708       Email from Lin Wood to Ryan             P:
   27   (D)       Mac; Mark Stephens re                              Relevance
                  Complaint filed
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                                                        - 47 -
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    1   Exhibit             Description                           Objections         Date         Date
        No.                                                                        Identified   Admitted
    2   709       Email from Ryan Mac to Dave          P:
    3   (D)       Arnold re unsworth defamation                   Hearsay
                  suit
    4   710       Lin Wood Tweet: Vern Unsworth        P:
        (D)       has taken the first step toward                 Relevance
    5             vindicating his good name.                      Hearsay
                  @elonmusk has been sued for
    6             defamation.
    7   711       Article: Thai cave rescue diver
        (D)       sues Elon Musk for defamation
    8             over repeated ‘pedo’ comments
        712       Email from Lin Wood to Ryan          P:
    9   (D)       Mac; Mark Stephens re Vernon                    Relevance
   10             Unsworth                                        Hearsay
        713       Email from Elon Musk to Marc         P:
   11   (D)       Benioff re Headlines…                           Relevance
                                                                  Hearsay
   12   714       The Boys in the Cave: Deep           P:
   13   (D)       Inside the Impossible Rescue in                 Relevance
                  Thailand, by Matt Gutman                        Waste of Time
   14   715       Text from Richard Harris to          P:
        (D)       Vernon Unsworth                                 Relevance
   15
                                                                  Hearsay
   16   716       Miracle in the Cave: The 12 Lost     P:
        (D)       Boys, Their Coach, and the                      Hearsay
   17             Heroes Who Rescued Them, by                     Waste of Time
                  Liam Cochrane
   18   717       Article: Miracle At Tham Luang       P:
   19   (D)                                                       Hearsay
        718       Email from Vernon Unsworth to        P:
   20   (D)       Liam Cochrane; William                          Relevance
                  Robinson re Your Book                           Hearsay
   21                                                             Prejudice
   22   719       Email from Philip Sherwell to        P:
        (D)       Vernon Unsworth re Weekend                      Relevance
   23             story                                           Hearsay
        720       Vernon Unsworth Instagram:           P:
   24   (D)       Tham Sai Thong Cave                             Relevance
   25   721       Email from Lin Wood to Ryan          P:
        (D)       Mac; Mark Stephens re Musk                      Relevance
   26             motion to dismiss                               Hearsay
        722       Email from Ryan Mac to Lin           P:
   27   (D)       Wood; Mark Stephens re Musk                     Relevance
   28             motion to dismiss                               Hearsay

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    1   Exhibit              Description                              Objections     Date         Date
        No.                                                                        Identified   Admitted
    2   723       Article: New Year Honours 2019:
    3   (D)       Divers honoured for Thai cave
                  rescue
    4   724       Article: British Cave Divers
        (D)       Receive Royal Honors
    5   725       Email from Lin Wood to Ryan              P:
    6   (D)       Mac; Mark Stephens re checking                      Relevance
                  in on Musk case                                     Hearsay
    7   726       Lin Wood Tweet: Fun fact:                P:
        (D)       Unsworth's US lawyer is L Lin                       Relevance
    8             Wood, who is also representing                      Hearsay
                  Covington student Nick
    9             Sandmann in his lawsuit against
   10             the Washington Post.
        727       Lin Wood Tweet: Lawyers for              P:
   11   (D)       Vernon Unsworth, the British                        Relevance
                  cave rescuer that Elon Musk                         Hearsay
   12             called a "pedo-guy," just filed a
                  response in response to Musk's
   13
                  request that his defamation
   14             lawsuit be dismissed.
        728       Email from Lin Wood to Ryan              P:
   15   (D)       Mac; Mark Stephens; Taylor                          Relevance
                  Wilson re checking in on Musk                       Hearsay
   16             case
   17   729       Lin Wood Tweet: Vernon                   P:
        (D)       Unsworth’s opposition brief to                      Relevance
   18             Elon Musk’s motion to dismiss                       Hearsay
                  directly addresses the issue of
   19             defamation on Twitter & the
                  misconception that “opinion” has
   20             wholesale First Amendment
   21             protection. It does not. If
                  interested in these issues, brief is
   22             a Musk read
        730       Email from Vernon Unsworth to            P:
   23   (D)       Matt Gutman re Dear Sir - hello                     Relevance
                  mate, just checking in                              Prejudice
   24
                                                                      Hearsay
   25   731       Email from Ryan Mac to Lin               P:
        (D)       Wood re court on Monday                             Relevance
   26                                                                 Hearsay
   27   732       Email from Ryan Mac to Lin               P:
        (D)       Wood re court on Monday                             Relevance
   28                                                                 Hearsay
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    1   Exhibit              Description                               Objections     Date         Date
        No.                                                                         Identified   Admitted
    2   733       Email from Ryan Mac to Lin                P:
    3   (D)       Wood re denial of motion to                          Relevance
                  dismiss                                              Hearsay
    4   734       Lin Wood Tweet: Just notified             P:
        (D)       that Elon Musk motion to dismiss                     Relevance
    5             Vernon Unsworth defamation                           Hearsay
    6             case has been DENIED. Full
                  order to be issued. Huge win as
    7             we move closer to achieving
                  accountability for false
    8             accusations.
        735       Chat text between Vernon                  P:
    9   (D)       Unsworth and Josh Morris                             Relevance
   10   736       Lin Wood Tweet: "The                      P:
        (D)       significance of the ruling is clear:                 Relevance
   11             publication of accusations on                        Hearsay
                  Twitter does not provide a safe
   12             harbor for defamatory statements
   13             that are false and convey that they
                  are factual.”
   14   737       Lin Wood Tweet: ”To assert that           P:
        (D)       Mr. Unsworth's reputation was                        Relevance
   15             not damaged by Musk's false                          Hearsay
                  accusations of pedophilia hints of
   16             desperation and ignores the fact
   17             that the law presumes damage in
                  such cases.”
   18   738       Lin Wood Tweet: Elon Musk’s               P:
        (D)       “Twitter and opinion” defenses to                    Relevance
   19             Vernon Unsworth’s defamation                         Hearsay
                  lawsuit legally misfired and he
   20             totally missed the target. Jury trial
   21             in October.
        739       Email from Ryan Mac to Lin                P:
   22   (D)       Wood re BuzzFeed News: In                            Relevance
                  Atlanta                                              Hearsay
   23   740       Email from Ryan Mac to Lin                P:
   24   (D)       Wood re BuzzFeed News: In                            Relevance
                  Atlanta                                              Hearsay
   25   741       Article: British diver who helped         P:
        (D)       rescued Thai football team from                      Hearsay
   26             cave receives MBE at
   27             Buckingham Palace

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    1   Exhibit             Description                            Objections     Date         Date
        No.                                                                     Identified   Admitted
    2   742       Email from Vernon Unsworth to         P:
    3   (D)       Mark Stephens; Lin Wood; David                   Relevance
                  Hooper et al. re Nice Work !
    4   743       Email from Vernon Unsworth to
        (D)       Adam Fellows re Thamluang
    5             24/6/61
        744       Email from Vernon Unsworth to
    6
        (D)       Mark Stephens; David Hooper;
    7             Elizabeth Morley; Hugo Mason re
                  Description
    8   745       Email from Vernon Unsworth to         P:
        (D)       Adam Fellows re AP News:                         Hearsay
    9             Diver who helped with Thai cave
   10             rescue sues Elon Musk
        746       Email from Vernon Unsworth to         P:
   11   (D)       Adam Fellows re Functionality of                 Hearsay
                  the Musk Submarine from Video
   12             evidence
        747       Email from Vernon Unsworth to
   13   (D)       Adam Fellows re Musk's Pretty
   14             Tube
        748       Email from Vernon Unsworth to         P:
   15   (D)       Adam Fellows re Thoughts from                    Hearsay
                  Bangkok                                          Relevance
   16                                                              Prejudice
   17   749       Email from Vernon Unsworth to         P:
        (D)       Adam Fellows re Greetings                        Hearsay
   18                                                              Relevance
                                                                   Prejudice
   19   750       Email from Vernon Unsworth to         P:
   20   (D)       Adam Fellows re Interview                        Hearsay
                  request for children's nonfiction                Relevance
   21             book on the Wild Boars rescue                    Prejudice
        751       Email from Vernon Unsworth to         P:
   22
        (D)       Adam Fellows re KEVIN                            Hearsay
   23             MACDONALD FEATURE                                Relevance
                  DOCUMENTARY aka THAI                             Prejudice
   24             CAVE RESCUE
        752       Email from Vernon Unsworth to         P:
   25   (D)       Adam Fellows re Thailand Kings                   Hearsay
   26             Award - Tham Luang Cave                          Relevance
                  Rescue                                           Prejudice
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    1   Exhibit             Description                            Objections     Date         Date
        No.                                                                     Identified   Admitted
    2   753       Email from Vernon Unsworth to         P:
    3   (D)       Adam Fellows re Bid for BBG                      Hearsay
                  News Podcast Beyond Today                        Relevance
    4                                                              Prejudice
        754       Email from Vernon Unsworth to         P:
    5   (D)       Adam Fellows re Greetings                        Hearsay
    6                                                              Relevance
                                                                   Prejudice
    7   755       Email from Vernon Unsworth to         P:
        (D)       Adam Fellows re Vern - First                     Hearsay
    8             Visit/Entry into Thailand July                   Relevance
    9             2011
        756       Email from Vernon Unsworth to         P:
   10   (D)       Adam Fellows re Vern - Resume                    Relevance
                  re Tham Luang Foreign Ministers
   11             Visit
        757       Email from Vernon Unsworth to
   12
        (D)       Adam Fellows re Welcome Letter
   13             for Mr. Unsworth, Vernon Harry
        758       Email from Ben Reymenants to          P:
   14   (D)       Steve Davis re Cave rescue 3D                    Hearsay
                  mapper and rescue pod                            Prejudice
   15
        759       Email from Chris Bowman to            P:
   16   (D)       Christopher Bowman re Cave                       Relevance
                  Survey
   17   760       Email from Chris Bowman to            P:
        (D)       Christopher Bowman re Survey                     Relevance
   18             help
   19   761       Email from Chris Bowman to
        (D)       Christopher Bowman re Tham
   20             Luang Rescue
        762       Email from Chris Bowman to            P:
   21   (D)       Christopher Bowman re Tham                       Relevance
                  Luang SpaceX survey data                         Hearsay
   22
        763       Lin Wood Tweet: In Vernon             P:
   23   (D)       Unsworth case, I deposed Elon                    Relevance
                  Musk all day on Thursday in LA.                  Hearsay
   24             When Musk deposition transcript
                  & video are eventually filed with
   25             the Court, truth about Musk will
   26             be publicly revealed. The
                  emperor has no clothes.
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    1   Exhibit              Description                             Objections      Date         Date
        No.                                                                        Identified   Admitted
    2   764       Email from Vernon Unsworth to           P:
    3   (D)       Lin Wood; Mark Stephens;                           Hearsay
                  Taylor Wilson; Matt Wood re
    4             Ben Reymanants
        765       Email from Vernon Unsworth to           P:
    5   (D)       Taylor Wilson; Lin Wood re Pedo                    Hearsay
                  comment
    6
        766       BuzzFeed News Standards and             P:
    7   (D)       Ethics Guide                                       Relevance
                                                                     Prejudice
    8   767       Lin Wood Tweet: The tip of the          P:
        (D)       iceberg.                                           Relevance
    9
                                                                     Hearsay
   10   768       Lin Wood Tweet: Elon Musk               P:
        (D)       says 'pedo guy' tweet did not                      Relevance
   11             suggest British cave diver was a                   Hearsay
                  pedophile
   12   769       Lin Wood Tweet: The man who             P:
   13   (D)       was integral to saving the lives of                Relevance
                  12 boys & their soccer coach —                     Hearsay
   14             Vernon Unsworth, M.B.E.
        770       Herbert du Plessis Tweet: Yes           P:
   15   (D)                                                          Relevance
   16                                                                Foundation
                                                                     Prejudice
   17                                                                Hearsay
        771       Hussein Badat Tweet: Probably a         P:
   18   (D)       Pretoria Boys High thing. I was                    Relevance
   19             there ﬁfteen years later and                       Foundation
                  nothing would surprise me about                    Prejudice
   20             that school. Apparently things                     Hearsay
                  have changed for the better
   21             since...
        772       John Thismyname Tweet: I have           P:
   22   (D)       mates that were in his old                         Relevance
   23             highschool that use the phrase                     Foundation
                  quite often. So perhaps it's just                  Prejudice
   24             from that part.                                    Hearsay
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    1   Exhibit             Description                             Objections      Date         Date
        No.                                                                       Identified   Admitted
    2   773       Johurg lawyer Tweet: Yes it’s          P:
    3   (D)       true. It was used in the 705 and                  Relevance
                  805 when my brothers and l were                   Foundation
    4             at school and university. It was a                Prejudice
                  mildly derogatory term for                        Hearsay
    5             anyone who was irritating or who
                  did something stupid. Mostly just
    6             limited to "pedo". Never meant as
    7             a word to accuse someone of
                  paedophilia.
    8   774       Lin Wood Tweet: No, "pedo guy"         P:
        (D)       is not a harmless South African                   Relevance
    9             slang term | The Outline                          Hearsay
   10   775       miro Tweet: Was certainly used         P:
        (D)       in the Sandton area in the 80’s                   Relevance
   11                                                               Foundation
                                                                    Prejudice
   12                                                               Hearsay
   13   776       xsyn Tweet: I've heard it in some      P:
        (D)       circles, ya.                                      Relevance
   14                                                               Foundation
                                                                    Prejudice
   15
                                                                    Hearsay
   16   777       justfoodnow Tweet: I'm from the        P:
        (D)       Western Cape but a good friend                    Relevance
   17             from Pretoria always uses it -                    Foundation
                  usually when talking about a                      Prejudice
   18             stupid/deadbeat/miserable person.                 Hearsay
   19   778       Lin Wood Tweet: Elon Musk’s            P:
        (D)       Defense In ‘Pedo Guy’                             Relevance
   20             Defamation Suit: Slur Meant                       Hearsay
                  Something E…
   21   779       Ricky Bobby Tweet: Not that            P:
   22   (D)       hard. Different words have                        Relevance
                  different meanings depending on                   Foundation
   23             when and how they are used. For                   Prejudice
                  example, if I call someone a                      Hearsay
   24             dickhole, obviously it is not
                  meant literally, just means they
   25             are unpleasant to look at and be
   26             around. Same goes for "pedo"

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    1   Exhibit             Description                           Objections      Date         Date
        No.                                                                     Identified   Admitted
    2   780       xCountryRun Tweet: We joked          P:
    3   (D)       about creepy old men hanging out                Relevance
                  around spooky places (called                    Foundation
    4             them Pedo’s) - I had never heard                Prejudice
                  of pedophile or there were                      Hearsay
    5             transgender people (we called
                  feminish boys pansy's — babies).
    6             In early days Pedo was a insult
    7             directed at car less poor whites
        781       James Howard UK Action Fraud         P:
    8   (D)       Report                                          Foundation
                                                                  Prejudice
    9                                                             Hearsay
   10   782       Email from Vernon Unsworth to        P:
        (D)       Taylor Wilson re British Team,                  Relevance
   11             Thann Luang Rescue                              Hearsay
        783       Email from Vernon Unsworth to        P:
   12   (D)       Taylor Wilson re Harry book -                   Relevance
   13             Tham Luang Deal                                 Hearsay
                                                                  Prejudice
   14   784       Email from Vernon Unsworth to        P:
        (D)       Taylor Wilson re Our client -                   Relevance
   15             Vern Unsworth                                   Hearsay
   16                                                             Prejudice
        785       Email from Vernon Unsworth to        P:
   17   (D)       Taylor Wilson re Phuket News                    Relevance
   18                                                             Hearsay
                                                                  Prejudice
   19   786       Email from Vernon Unsworth to        P:
        (D)       Taylor Wilson re The Cave - Tom                 Relevance
   20             Waller                                          Hearsay
   21                                                             Prejudice
        787       Email from Vernon Unsworth to        P:
   22   (D)       Taylor Wilson re Vern Unsworth                  Relevance
                                                                  Hearsay
   23                                                             Prejudice
   24   788       Email from Vernon Unsworth to        P:
        (D)       Taylor Wilson re Vern Unsworth                  Relevance
   25             - more info                                     Hearsay
                                                                  Prejudice
   26   789       Email from Vernon Unsworth to        P:
   27   (D)       Taylor Wilson re Vern Unsworth                  Relevance
                  - Tham Luang Document                           Hearsay
   28                                                             Prejudice
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    1   Exhibit             Description                             Objections     Date         Date
        No.                                                                      Identified   Admitted
    2   790       Email from Vernon Unsworth to          P:
    3   (D)       Taylor Wilson re Vern Unsworth                    Relevance
                  / Guardian Weekend                                Hearsay
    4                                                               Prejudice
        791       Lin Wood Tweet: Vernon                 P:
    5   (D)       Unsworth’s response to Elon                       Relevance
    6             Musk motion for summary                           Hearsay
                  judgment will be filed on
    7             Monday. It will be a detailed and
                  fully-documented recital of the
    8             truth. Jury trial set for December
                  3.
    9   792       Lin Wood Tweet: Mr. Unsworth           P:
   10   (D)       was first informed 2 days ago that                Relevance
                  Cooley, LLP was also                              Hearsay
   11             representing Elon Musk in
                  September 2018 in connection
   12             with the Vernon Unsworth
                  matter.
   13
        793       Lin Wood Tweet: Musk’s                 P:
   14   (D)       attorney, Alex Spiro, fails to                    Relevance
                  disclose that Musk offered the                    Hearsay
   15             convicted felon a $10,000
                  incentive bonus on top of his
   16             $52,000 fee IF he provided
   17             VERIFIED information of
                  "nefarious conduct" by Mr.
   18             Unsworth. The bonus was never
                  paid because no such evidence
   19             exists.
        794       Lin Wood Tweet: "Musk's lawyer         P:
   20   (D)       Alex Spiro told Business Insider                  Relevance
   21             in a statement: "This case is                     Hearsay
                  nothing but a money-grab in
   22             which Unsworth has pursued
                  profit and self-promotion at every
   23             turn."
        795       Lin Wood Tweet: "When                  P:
   24
        (D)       someone shows you who they are,                   Relevance
   25             believe them the first time.” -                   Hearsay
                  Maya Angelou
   26   796       Lin Wood Tweet: British cave           P:
        (D)       diver lashes out at 'thin skinned                 Relevance
   27             bully' Elon Musk                                  Hearsay
   28
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    1   Exhibit              Description                             Objections     Date         Date
        No.                                                                       Identified   Admitted
    2   797       Lin Wood Tweet: Musk lawyer’s           P:
    3   (D)       comments are simply more                           Relevance
                  accusations of a dishonest Elon                    Hearsay
    4             Musk defense & PR campaign to
                  demean & falsely attack my
    5             client. Since the rescue, Mr.
                  Unsworth has received a total of
    6             £2,400 for his assistance in
    7             connection with two
                  documentaries about Thai Cave
    8             Rescue.
        798       Lin Wood Tweet: The efforts by          P:
    9   (D)       Musk's employees to help the                       Relevance
                  kids should be commended even                      Hearsay
   10
                  though the tube was not practical.
   11             But Musk's personal motives for
                  volunteering their help must be
   12             evaluated by jury in context of his
                  need for positive publicity & his
   13             efforts to seek it for himself.
   14   799       Lin Wood Tweet: Vernon                  P:
        (D)       Unsworth spent 2 weeks working                     Relevance
   15             daily to save lives of 12 Thai                     Hearsay
                  children & coach. Elon Musk
   16             spent 3 days trying to generate
                  publicity for Elon Musk from a
   17             miraculous rescue made possible
   18             by skills, experience, & bravery
                  of genuinely dedicated &
   19             involved volunteers. Truth.
        800       Lin Wood Tweet: For Elon Musk,          P:
   20   (D)       the Thai Cave Rescue was about                     Relevance
                  PR & his image. For Vernon                         Hearsay
   21             Unsworth, it was about saving the
   22             lost children & their coach.
        801       Lin Wood Tweet: Wonder if               P:
   23   (D)       China will be amenable to Elon                     Relevance
                  Musk PR demands? And Musk                          Hearsay
   24             lawyer again attacks Vernon for
                  receiving total of £2,400 for his
   25
                  assistance in connection with 2
   26             documentaries but does not deny
                  Musk’s wrongdoing.
   27
   28
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    1   Exhibit              Description                             Objections          Date         Date
        No.                                                                            Identified   Admitted
    2   802       Lin Wood Tweet: As a prepare            P:
    3   (D)       for summary judgment hearing                       Relevance
                  today in LA in Vernon Unsworth                     Hearsay
    4             v. Elon Musk, the news of our
                  team’s huge win in Covington,
    5             KY reaffirms my career—long
                  belief that our system of justice
    6             works. Nicholas Sandmann
    7             deserves his day in court against
                  WaPo. Now he will get it.
    8   803       Lin Wood Tweet: Elon Musk to            P:
        (D)       face defamation trial over Thai                    Relevance
    9             cave 'pedo guy' comments                           Hearsay
   10   804       Lin Wood Tweet: The truth is            P:
        (D)       incontrovertible. Malice may                       Relevance
   11             attack it, ignorance may deride it,                Hearsay
                  but in the end, there it is. -
   12             Winston Churchill
        805       Lin Wood Tweet: "We look                P:
   13
        (D)       forward to the trial," Alex Spiro,                 Relevance
   14             an attorney for Musk, said in a                    Hearsay
                  statement provided to Bloomberg.
   15             "We understand that, while Musk
                  has apologized, Unsworth would
   16             like to milk his 15 minutes of
                  fame.”
   17
        806       Lin Wood Tweet: When you ask            P:
   18   (D)       to be sued & law & facts are dead                  Relevance
                  against you & you have lost every                  Hearsay
   19             motion to dismiss case after
                  lawsuit filed, beat on the PR table
   20             & continue to insult Vernon
   21             Unsworth. Will be very
                  interesting to see how a jury
   22             reacts to Elon Musk defense
                  strategy.
   23   807       Vernon Unsworth Instagram:              P:
        (D)       Front page                                         Relevance
   24
                                                                     Hearsay
   25   808       BBC ฟง นนทชนก วงษสมทร... -              P:
        (D)       บบซไทย - BBC Thai (Transcript)                     Authentication
   26   809       Ben Reymenants photo                    P:
   27   (D)                                                          Relevance
                                                                     Authentication
   28                                                                Waste of Time
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    1   Exhibit              Description                        Objections          Date         Date
        No.                                                                       Identified   Admitted
    2   810       Cave Map
    3   (D)
        811       Cave Rescue Hazards Map
    4   (D)
        812       Craig Challen photo                P:
    5   (D)                                                     Relevance
    6                                                           Authentication
                                                                Waste of Time
    7   813       Detailed Cave Map
        (D)
    8   814       Diving Kids Out Image              P:
    9   (D)                                                     Hearsay
        815       Document in Thai                   P:
   10   (D)                                                     Relevance
        816       Ex. 13 Vernon Unsworth 7/13/18     P:
   11   (D)       CNN Interview (Transcript)                    Cumulative
   12   817       Ex. 14 Vernon Unsworth 7/13/18     P:
        (D)       CNN Interview (Transcript)                    Cumulative
   13   818       Ex. 24 Vernon Unsworth 7/16/18     P:
   14   (D)       Time Interview (Transcript)                   Cumulative
        819       Ex. 26 Vernon Unsworth 7/17/18     P:
   15   (D)       AFP Interview (Transcript)                    Cumulative
   16   820       Ex. 29 Vernon Unsworth             P:
        (D)       12/27/18 BBC Interview                        Relevance
   17             (Transcript)                                  Cumulative
        821       GoFundMe page for Saman            P:
   18   (D)       Kunan                                         Relevance
   19   822       Governor Narongsak                 P:
        (D)       Osotthanakorn photo                           Relevance
   20                                                           Authentication
                                                                Waste of Time
   21
        823       John Volanthen photo               P:
   22   (D)                                                     Relevance
                                                                Authentication
   23                                                           Waste of Time
   24   824       Major Saman Gunan photo            P:
        (D)                                                     Relevance
   25                                                           Authentication
        825       PPTV เปดใจ “เวรน อนสเวรธ”          P:
   26   (D)       กญแจสาคญภารกจชวย 13 ชวต -                     Authentication
   27             เขมขาวคา (Transcript)

   28
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    1   Exhibit             Description                          Objections          Date         Date
        No.                                                                        Identified   Admitted
    2   826       Richard Harris photo                P:
    3   (D)                                                      Relevance
                                                                 Authentication
    4                                                            Waste of Time
        827       Rick Stanton photo                  P:
    5   (D)                                                      Relevance
    6                                                            Authentication
                                                                 Waste of Time
    7   828       Ryan Mac photo                      P:
        (D)                                                      Relevance
    8
                                                                 Authentication
    9                                                            Waste of Time
        829       Submarine Diagram, Submarine,       P:
   10   (D)       Submarine Instructions                         Hearsay
                                                                 Cumulative
   11
        830       Submarine photos
   12   (D)
        831       Texts between Will Heltsley and     P:
   13   (D)       Armor Harris                                   Hearsay
                                                                 Cumulative
   14
        832       Thanet Natisri photo                P:
   15   (D)                                                      Relevance
                                                                 Authentication
   16                                                            Waste of Time
   17   833       The Legal 500: Howard Kennedy       P:
        (D)       LLP                                            Relevance
   18                                                            Hearsay
                                                                 Prejudice
   19   834       The Legal 500: UK, London -         P:
   20   (D)       TMT (technology, media and                     Relevance
                  telecoms); Media and                           Hearsay
   21             entertainment (including media                 Prejudice
                  finance); Law firm and leading
   22             lawyer rankings
        835       Tik Dating Profile (English         P:
   23   (D)       translation)                                   Authentication
   24                                                            Relevance
                                                                 Hearsay
   25                                                            Prejudice
        836       Tik Dating Profile (Thai)           P:
   26   (D)                                                      Authentication
   27                                                            Relevance
                                                                 Hearsay
   28                                                            Prejudice
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    1   Exhibit             Description                            Objections         Date         Date
        No.                                                                         Identified   Admitted
    2   837       Urban Dictionary definition           P:
    3   (D)                                                        Relevance
                                                                   Hearsay
    4                                                              Prejudice
        838       Urban Dictionary definition           P:
    5   (D)                                                        Relevance
    6                                                              Hearsay
                                                                   Prejudice
    7   839       Vernon Unsworth and Tik photo         P:
        (D)                                                        Relevance
    8
        840       Vernon Unsworth and Tik photo         P:
    9   (D)                                                        Relevance
        841       Vernon Unsworth and Tik photo         P:
   10   (D)                                                        Relevance
        842       Vernon Unsworth photo
   11   (D)
   12   843       Vernon Unsworth photo
        (D)
   13   844       Vernon Unsworth photo
        (D)
   14   845       Vernon Unsworth photo
   15   (D)
        846       Vernon Unsworth photo
   16   (D)
        847       Vernon Unsworth photo
   17   (D)
        848       Vernon Unsworth photo
   18
        (D)
   19   849       Wild Boars photo
        (D)
   20   850       Woranan Ratrawiphukkun photo          P:
        (D)                                                        Relevance
   21
                                                                   Waste of Time
   22   851       Chat transcript between Aaron         P:
        (D)       and Chris Bowman                                 Hearsay
   23   852       Chat transcript between Daniel Le     P:
        (D)       and Chris Bowman                                 Hearsay
   24
        853       Chat transcript between Vernon        P:
   25   (D)       Unsworth and Dr. Harry                           Relevance
        854       Chat transcript between Vernon        P:
   26   (D)       Unsworth and John Volanthen                      Relevance
   27   855       Chat transcript between Vernon        P:
        (D)       Unsworth and Martin Ellis                        Relevance
   28
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    1   Exhibit             Description                             Objections          Date         Date
        No.                                                                           Identified   Admitted
    2   856       Chat transcript between Vernon         P:
    3   (D)       Unsworth and Matt Gutman                          Relevance
        857       Chat transcript between Vernon         P:
    4   (D)       Unsworth and Phil Collett                         Relevance
    5   858       Chat transcript between Vernon         P:
        (D)       Unsworth and Rick Stanton                         Relevance
    6   859       Chat transcript between Vernon         P:
    7   (D)       Unsworth and Thanet Natisri                       Relevance
        860       Chat transcript of Thailand            P:
    8   (D)       Ground Team                                       Hearsay
                                                                    Cumulative
    9
        861       Chat transcript of Thailand            P:
   10   (D)       Ground Team                                       Hearsay
                                                                    Cumulative
   11   862       Complete Vernon Unsworth Chat          P:
   12   (D)       History                                           Relevance
                                                                    Cumulative
   13   863       Text messages between Vernon           P:
        (D)       Unsworth and Vanessa Unsworth                     Completeness
   14
        864       Text messages between Vernon           P:
   15   (D)       Unsworth and Vanessa Unsworth                     Completeness
        865       Chat transcript between Vernon         P:
   16   (D)       Unsworth and Derek Anderson                       Relevance
   17   866       Chat transcript between Vernon         P:
        (D)       Unsworth and Thanet Natisri                       Relevance
   18   867       Document in Thai (Translation)         P:
   19   (D)                                                         Relevance
                                                                    Authentication
   20                                                                (Incomplete,
                                                                     reserving
   21                                                                additional
   22                                                                objections
        868       A summary of the Tham Luang            P:
   23   (D)       Rescue                                            Hearsay
        869       Article: Australian divers Richard     P:
   24   (D)       Harris and Craig Challen return to                Hearsay
                  scene of dramatic Thai cave                       Relevance
   25
                  soccer team rescue
   26
   27
   28
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    1   Exhibit              Description                              Objections          Date         Date
        No.                                                                             Identified   Admitted
    2   870       Liam Cochrane Tweet: In a                P:
    3   (D)       stunning revelation, British caver                  Hearsay
                  Vern Unsworth says the #Thai                        Relevance
    4             Wild Boars football team was not
                  trapped at ’Nerm Nom Sai' but
    5             we're at ’Pattaya Beach' all along.
                  Mr Unsworth went in last month
    6             to help clear Tham Luang of silt.
    7             #Thailand 1/2
        871       Liam Cochrane Tweet: Vern                P:
    8   (D)       Unsworth told the ABC: "Nerm                        Hearsay
                  Nom Sao doesn’t exist, it's a                       Relevance
    9             figment if some joirnalist's
                  imagination.” If true, this would
   10
                  contradict the official account,
   11             every doco and every book
                  (including mine!) A-Thailand 2/2
   12   872       Ex. 33 translation certification         P:
        (D)                                                           Hearsay
   13                                                                 Authentication
   14                                                                 Foundation
                                                                      Prejudice
   15                                                                 Hearsay
        873       Ex. 55 translation certification         P:
   16   (D)                                                           Hearsay
   17                                                                 Authentication
                                                                      Foundation
   18                                                                 Prejudice
   19                                                                 Hearsay
        874       Declaration of Jessica Probus            P:
   20   (D)                                                           Relevance
        875       The BuzzFeed News Standards              P:
   21   (D)       And Ethics Guide                                    Relevance
   22                                                                 Prejudice
                                                                      Confusion
   23                                                                 Misleading
        876       Lin Wood Tweet: @elonmusk                P:
   24   (D)       should check his mail before                        Relevance
                  tweeting                                            Hearsay
   25
        878       Cave Map                                 P:
   26   (D)                                                           Hearsay
        879       Article: Rainfall threat forces plan     P:
   27   (D)       rethink                                             Hearsay
   28   880       Texts between Elon Musk and              P:
        (D)       Zach                                                Hearsay
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    1   Exhibit              Description                          Objections          Date         Date
        No.                                                                         Identified   Admitted
    2   881       Texts between Elon Musk and          P:
    3   (D)       Bryn                                            Hearsay
        882       Texts between Elon Musk and          P:
    4   (D)       Scott P.                                        Hearsay
        883       Texts between Elon Musk and          P:
    5   (D)       Antonio G.                                      Hearsay
    6   884       Texts between Elon Musk and          P:
        (D)       Steve Davis                                     Hearsay
    7   885       Texts between Elon Musk and          P:
        (D)       Amor Harris                                     Hearsay
    8   886       Texts between Elon Musk and          P:
    9   (D)       Sam Teller                                      Hearsay
        887       Texts between Elon Musk and          P:
   10   (D)       Sam Teller                                      Hearsay
        888       Texts between Elon Musk and          P:
   11   (D)       Jared L.                                        Hearsay
   12   889       Texts between Elon Musk and          P:
        (D)       Sam Teller                                      Hearsay
   13   890       Texts between Elon Musk and          P:
        (D)       Amor Harris                                     Hearsay
   14
        891       Texts between Elon Musk and          P:
   15   (D)       Amor Harris                                     Hearsay
        892       Texts between Elon Musk and          P:
   16   (D)       Sarah O.                                        Hearsay
        893       Texts between Elon Musk and          P:
   17   (D)       David Arnold                                    Hearsay
   18   894       Texts between Elon Musk and          P:
        (D)       David Arnold                                    Hearsay
   19   895       Texts between Elon Musk and          P:
        (D)       Amor Harris                                     Hearsay
   20
        896       Ex. 53 translation certification     P:
   21   (D)                                                       Relevance
                                                                  Authentication
   22                                                             Foundation
   23                                                             Prejudice
                                                                  Hearsay
   24   897       Twitter profile @llinwood            P:
        (D)                                                       Hearsay
   25                                                             Relevance
   26                                                             Prejudice
        898       Twitter profile @markslarks          P:
   27   (D)                                                       Hearsay
                                                                  Relevance
   28                                                             Prejudice
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    1       Exhibit              Description                             Objections      Date         Date
            No.                                                                        Identified   Admitted
    2       899       Twitter profile @RMac18                 P:
    3       (D)                                                          Hearsay
                                                                         Relevance
    4       900       Twitter profile @yoda                   P:
            (D)                                                          Hearsay
    5                                                                    Relevance
    6       901       Vernon Unsworth Photo                   P:
            (D)                                                          Relevance
    7       902       YouTube video Return to the             P:
            (D)       Tham Luang cave video                              Relevance
    8                 Screen grab of credits to              P:
    9       902A      YouTube video Return to the                        Objection1
            (D)       Tham Luang cave video
   10       903       You Tube video Vern Unsworth           P:
            (D)       is considering legal action                        Objection
   11                 Excerpt of You Tube video Vern         P:
   12       903A      Unsworth is considering legal                      Objection
            (D)       action
   13       904       You Tube Miracle at Tham               P:
            (D)       Luang Caves                                        Objection
   14       905                                              P:
   15       (D)       Theresa May Photo                                  Objection
                      Email from Vernon Unsworth to          P:
   16       906       Mark Stephens re Thoughts from                     Objection
            (D)       Bangkok
   17                 Email from William Robinson to         P:
   18       907       Vernon Unsworth re PDF FILES                       Objection
            (D)       for all 3 articles written
   19                 Article: Thai Girlfriend of British    P:
                      Diver Vern Unsworth Says Elon                      Objection
   20       908       Musk’s Pedophile Accusation is
            (D)       Laughable
   21                 Article: British cave diver Vernon     P:
   22       909       Unsworth to sue Elon Musk after                    Objection
            (D)       new rant
   23                 Article: Thai cave rescue hero         P:
            910       could sue Elon Musk in three                       Objection
   24       (D)       countries over 'child rapist' slurs
   25
        1
   26   Plaintiff objects to Exhibits 902A through 933 on the grounds that they were added
      to Defendant’s exhibit list and submitted to Plaintiff at 10:37 pm on December 2, the
   27 night before trial. Plaintiff has not had an opportunity to review these newly proposed
   28 exhibits, and Plaintiff reserves his right to lodge substantive objections to these
      untimely exhibits if the Court determines that Defendant is entitled to use them at trial.
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    1   Exhibit              Description                               Objections     Date         Date
        No.                                                                         Identified   Admitted
    2             Article: ENTOMBED! Twelve                P:
    3             schoolboys trapped deep inside a                     Objection
                  flooding cave in a drama that
    4             gripped the world – as relived in
        911       new book by reporter who
    5   (D)       witnessed every moment
                  Article: 'It was utter chaos': Inside    P:
    6   912       the Thai cave rescue that nearly                     Objection
    7   (D)       didn't happen
                  Email from Vernon Unsworth to            P:
    8             Adam Fellows re Watch "Elon                          Objection
                  Musk's fall from grace after
    9   913       calling British cave rescue diver a
   10   (D)       'paedo"' on YouTube
        914       The British Divers at the Centre         P:
   11   (D)       of the Thai Cave Rescue (Video)                      Objection
                  Elon Musk Tweet: When the                P:
   12             zombie apocalypse happens,                           Objection
                  you'll be glad you bought a
   13             flamethrower. Works against
   14   915       hordes of the undead or your
        (D)       money back!
   15   916       Elon Musk Tweet: As I've said            P:
        (D)       before, I am definitely a Martian                    Objection
   16             Elon Musk Tweet: Headed to a             P:
   17             (ahem) volcano caldera. Since I                      Objection
        917       didn't finish my PhD, it's actually
   18   (D)       "Mr." Evil.
        918       Elon Musk Tweet: It's much               P:
   19   (D)       easier to do the CGI that way                        Objection
   20             Elon Musk Tweet: The actual              P:
                  amount of time I spend on Twitter                    Objection
   21             is tiny. My tweets are literally
                  what I'm thinking at the moment,
   22             not carefully crafted corporate bs,
        919       which is really just banal
   23   (D)       propaganda.
   24             Elon Musk Tweet: Heading back            P:
                  into the factory, so that's enough                   Objection
   25             for now. Don't take my Tweet too
        920       seriously. For one thing, it's
   26   (D)       called a "Tweet".
                  Article: Thai cave boys and              P:
   27   921       rescuers feted by prime minister                     Objection
   28   (D)       at gala reception

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    1   Exhibit             Description                          Objections     Date         Date
        No.                                                                   Identified   Admitted
    2   922       Tham Luang Cave Rescue:            P:
    3   (D)       Against the Elements (Video)                   Objection
        922A      Excerpt of Tham Luang Cave         P:
    4   (D)       Rescue: Against the Elements                   Objection
                  (Video)
    5   923       Email from Mark Stephens to        P:
    6   (D)       David Hooper, Lin Wood, Taylor                 Objection
                  Wilson, Hugo Mason re Vernon
    7             Unsworth's case
        924       Email from Charles Withers to      P:
    8   (D)       James Brickhouse re                            Objection
                  FreedomCity.com
    9   925       Email from GoDaddy to James        P:
   10   (D)       Brickhouse re Shop and save                    Objection
                  40%. It's on us
   11   926       Email from Jim Medalia to to       P:
        (D)       James Brickhouse re                            Objection
   12             justballs.com
        927       Jim Jansen Chart                   P:
   13
        (D)                                                      Objection
   14   928       Rick Stanton gives incredible      P:
        (D)       account of Thai cave rescue                    Objection
   15             (Video)
        929       Email from Matt Gutman to          P:
   16   (D)       Vernon Unsworth re Big Passage                 Objection
   17             Video - Tham Luang Monks
                  Series
   18   930       Email from Matt Gutman to          P:
        (D)       Vernon Unsworth re Updated                     Objection
   19             Cave Maps - Tham Luang
   20   931       Email from James Brickhouse to     P:
        (D)       Yousef Ben Atiga re Please read                Objection
   21             my message I don't want to die
        932       Email from Jared Birchall to       P:
   22   (D)       James Brickhouse re Test                       Objection
        933       Email from Ryan Mac to Elon        P:
   23
        (D)       Musk Re: Buzzfeed News:                        Objection
   24             Unsworth legal letter

   25
   26
   27
   28
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